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                                UNITED STATES DISTRICT CO URT
                                SO UTHERN DISTRICT O F FLO RIDA

                             CASE NO .07-22459-CIV-COHN/SELTZER
                             CASE NO .08-21063-CIV-COHN/SELTZER

   ELOY ROJAS MAMANI,etaI.,

          Plaintiffs,



   José CARLOS SANCHEZ BERM IN,
          Defendantin No.07-22459,

   GONM LO DANIEL SANCHEZ DE
   LOM DA SANCHEZ BUSTAMANTE,
          Defendantin No.08-21063.
                                                    /

     ORDER DENYING DEFENDANTS'JO INT M OTION FOR SUM M ARY JUDGM ENT
          THIS CAUSE is before the Coud upon Defendants'JointM otion forSum m ary

   Judgment(DE 342 inCase No.07-22459,
                                     .DE 321in Case No.08-21063)($'Motion'')1
   The Coud has carefully considered the M otion,Plaintiffs'Response and Defendants'

   Reply,the parties'related subm issions,and the record in these cases,and is otherwise

   advised in the prem ises. Forthe reasons setforth below ,Defendants'M otion is denied.

         1.        INTRO DUCTIO N
          These cases concern the Bolivian governm ent's alleged m assacre ofits own

   civilians during a period ofcivilunrestin Bolivia in 2003. Plaintiffs nine Bolivian


            1M any ofthe filings in these casesare redacted versionsthatwere also filed unredacted and
   underseal. The Courtwillcite to the redacted filings where possible forefficiency,consistency,and
   clarity. The Courthas redacted referencesto certain materials filed undersealin connection with
   Defendants'Motion thatwere designated by the padies as confidential. The Courthas sim ultaneously
   filed an unredacted version ofthis Orderunderseal,forviewing by the padies and the Courtonly.
   Addi tionall
              y,alIdocketcitations in this Orderreferto Case No.07-22459,which was consolidated wi   th
   Case No.08-21093 in May 2008. See DE 68.
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   residents and citizens are the relatives ofeightBolivian civilians who,itis alleged,
  were deliberately killed by the Bolivian m ilitary 2 The crux ofPlainti#s'claim s is thattwo
                                                       .




  form erhigh-ranking Bolivian governm entofficials- the form erPresident,Gonzalo

   DanielSénchez de Lozada Sénchez Bustamante ('DefendantLozadan),andtheformer
   MinisterofDefense,José CarlosSénchez Berzain (uDefendantBerzainNl-
   m asterm inded a violentm ilitary cam paign thatIed to Plaintiffs'relatives'deaths,aIIin an

   effortto quellpublic opposition to theirunpopularpoliticalagenda. Based on these

   allegations,Plaintiffs seek to hold Defendants personally Iiable forcom pensatory and

   punitive damagesunderthe Todure Victim ProtectionActof1991($'TVPA''
                                                                     ),Pub.L.No.
   102-256,106 Stat.73 (codified at28 U.S.C.j 1350 note),and state Iaw.
          Defendantsnow move forsummaryjudgment. First,Defendantsargue thatthere
   is no evidence thatany ofPlaintiffs'relatives were intentionally killed by the Bolivian

   m ili
       tary. Second,Defendants contend thateven ifthere were evidence thatmem bers of

   the Bolivian m ilitary intentionally targeted and killed the decedents,there is no evidence

   suppoding Defendants'indirectliability forthose deaths. Third,Defendants assed that

   Plainti
         ffs'state-law claim s failas a m atterofIaw . Foudh and finally,Defendants say

   thatthe claims oftwo Plainti#s cannotproceed due to individualdeficiencies.

        II.      FACTS
          The facts centralto Defendants'summaryjudgmentMotion,taken inthe Iight
   m ostfavorable to Plaintiffs,the nonm oving parties,are setoutbelow.

          2Plainti
                 ffsEloyRojas MamaniandEtelvina RamosMamanisue on behalfoftheirdaughter,
   Marlene NancyRojasRamos.PlaintiffSoniaEspejoVillal
                                                    obossuesonbehalfofhercommon-law
   husband,Lucio Santos GandarillasAyala. PlaintiffHernén Apaza Cutipa sues on behalfofhis sister,
   Roxana Apaza Cutipa. PlaintiffTeôfilo BaltazarCerro sues on behalfofhiswife,Teodosia Morales
   Mamani.PlaintiffJuanaValenciadeCarvajalsueson behalfofherhusband,Marcelino CarvajalLucero.
   Pl
    aintiffHermbgenes Bernabé Calli
                                  zaya sueson behalfofhis father,Jacinto Bernabé Roque. Plaintiff
   Gonzalo MamaniAguilarsues on behalfofhisfather,Arturo MamaniMamani. Plainti  ffFelici
                                                                                       dad Rosa
   Huanca Quispe sueson behalfofherfather,RaulRamôn Huanca Mérquez.
                                                   2
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                  A.      Backcround

          DefendantLozada served as the democratically-elected PresidentofBolivia from

  August1993 to A ugust1997 and again from August2002 to October2003.

   Defendants'StatementofMatefialFacts ($'SMF'')IDE 341)!11. DefendantBerzain
   served as M inisterofDefense during DefendantLozada's second term as president,

   betweenearlyAugust2003 and October2003.Ld=.112.
          In 2001,approximately a yearand a halfbefore Bolivia's 2002 presidential

   election,Defendants agreed to a plan whereby they would use m ilitary force to kill

   civilians in orderto quash public opposition to theireconom ic program s. Plainti#s'Ex.H

   (canelas Decl.ll!l4-7).3,4 speci
                                  fically,Defendants soughtto ''avoidthe problemsthat
   PresidentHugo BanzerSuarezfaced during the 'W aterW ar.'''Id.!15. During the
   ''
    W aterW ar''of1999 and 2000,the Bolivian governm entwas forced to abandon a plan

   to privatize the watersystem in Cochabam ba,Bolivia in the face ofm assive protests.

   See Defendants'Ex RR (Lozada Dep.Tr.53:5-54:8).5 To avoid civilian opposition
                          .



   sim ilarly derailing theirpolicies and program s,Defendants planned to use trained troops


            3Plaintiffs'Exhibi
                             ts A to 1111are attached to the Declarati
                                                                     on ofJoseph L.Sorkin in Supportof
   Plaintiffs'Opposition to Defendants'Motion forSumm ary Judgment. See DE 375-2.
             4Defendants argue thatMr. Canel    as'declarationcannotbeconsideredbecause(1)hedoesnot
   statethatheiswillingtotesti
                             fytothedeclaration'scontents,and(2)hisdeclarationis'suspect'because
   heisamemberofthesamepoli       ticalpartyasthecurrentpresidentofBolivia,Evo Morales(who
   Defendantscharacterize as''Itlhe manbehind theviolence''atissue inthiscase),and becauseathird
   party deponenthas testified thatMr.Canelas threatened to take revenge on DefendantLozada and is
   lying aboutthe eventsdescribed in his declaration. See DE 404 at16 n.9. First while declarations used
                                                                               !                  ,,
   tooppose motionsforsummaryjudgmentmustilsetoutfactsthatwould beadmlssibl    e inevidence, Fed.
   R.Civ.P.56(c)(4),Mr.Canel
                           asiswilling andabl
                                            e totestifyatthetrialin thiscase,see DE 383,and it
   therefore appearsthatthe contents ofhisdeclaration can be reduced to admissible form attrial. Second,
   theCoud doesnotmakecredibilitydeterminationsonsummaryjudgment.SeeAndersonv.Libertv
   Lobbv.lnc.,477U.S.242,255(1986)('   icredibilitydeterminations,theweighingoftheevi
                                                                                    dence,and the
   drawingoflegitimateinferencesfrom thefactsarejuryfunctions,notthoseofajudge,whetherhe is
   rulingona motionforsummaryjudgmentorfora directedverdict.'').
          5Defendants'Exhibits 1 to 83 are attached to the Declaration ofAna C.Reyes in Supportof
   Defendants'Motion forSummary Judgment. See DE 341-1. Defendants'Exhibits 84 to 113 are attached
   to the Declaration ofAna C.Reyes in SupportofDefendants'Reply in SupportofDefendants'Motionfor
   Sum maryJudgment. See DE 384-1.
                                                     3
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  from eastem Bolivia,as opposed to conscripts,to confrontprotesters. Plaintiffs'Ex.H

   (Canelas Decl.116). DefendantBerzaln stated thatitwould be necessal to ''killtwo or
  three thousand people.p!Z DefendantLozada indicated thathe approved ofwhat
   DefendantBerzalnsaid.% !17.
          O n August8,2002,two days afterentering office,DefendantLozada issued
   PresidentialDecree 26757,designating m em bers ofthe Arm ed Forces to form his

   M ilitary High Com m and,including,interalia,Com m anderJuan Veliz Herrera. Plainti
                                                                                     ffs'

   CounterstatementofMaterialFacts(I'CSMF')IDE 375-1)11205. Lessthan a week Iater,
  on August14,CommanderHerrera approved the uManualon the Use ofForce.'1Z !1
   206*
      ,Plaintiffs'Ex.BBBB (Resolution 11/02).Among otherthings,the ''Manualonthe
   Use ofForcencharacterized 'troadblocks,marches,(and)demonstrationspassubversive
   acts and authorized the use ofmilitary force againstusubversive elem ents trying to
   preventArm y Units from accomplishing theirconstitutionalm issions and the orders

   received.''Plaintiffs'Ex.YYY (Manualonthe Use ofForce at13-14). ltspecified,
   though,that''Itlhe use ofIegalviolence is onlyjustified in si
                                                               tuations ofextreme
   necessity,and as a Iastresod when aIIappropriate m em ods ofpersuasion have failed.'

  K at14.Five monthsIater,on January 12,2003,CommanderHerrera released the
   uRepublicPlan.n CSMF 11207. Underthisplan,the Bolivian NationalArmywasto
   uapply the Principles ofM ass and ShockDto,intera//b,rem ove roadblocks and control

   civildisturbances. Plaintils'Ex.777 (Republic Plan at1).6


          6Defendants appearto suggestthatthe term Rm asa y sopresa-means se ething otherthan
   eMass and Shock.H See Defendants'Reply StatementofMaterialFads in S     rtofTheirMotion for
   Summa Jud ment .Re l SMF DE 384 207



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         O ne ofDefendantLozada's policy aim s in his second term was to raise dom estic

   revenue by expoding Bolivia's naturalgas reserves. See,e.a.,Plaintiffs'Ex.BB

   (Bedoya Dep.Tr.75:22-78:10). Thisplan had been initiated bythe prioradministration.
   Defendants'Ex.48 (Berindoague Dep.Tr.76:22-77:5). The partiesdispute whethera
   decision was everfinalized to expod naturalgas through Chile. Nevedheless,

   Defendants concede that''som e m em bers ofthe public believed thatBolivia was going

   to sellgasthroughChile,and,indeed,to Chile itsel
                                                  f.''SMF 1116.The plan to expod
   Bolivia's naturalgas reserves,and a num berofotherissues,Ied to protests in Bolivia in

   2003.See,e.c.,Plaintiffs'Ex.L (delGranado Decl.IN 8,11,16-17).
         Peaceful,negotiated solutions to these protests were unsuccessful. lnstead,

   Defendants em ployed m ilitaryforce on m ultiple occasions,Ieading to civilian deaths.

   Forinstance,in January 2003,DefendantLozada padicipated in negotiations in
   Cochabam ba aimed ataddressing rising tensions between coca farm ers in the Chapare

   region ofBolivia andthe Bolivian military.Plaintiffs'Ex.B (Albarracin Decl.% 16).The
   negotiations were initially successfuland a tentative agreem entwas reached;however,

   afterDefendantBerzain entered the room and indicated his opposition to the tentative

   agreement,DefendantLozada changed his position and the dealfellapart.1Z The
   Bolivian governm entultim ately em ployed m ilitary force in Chapare,resulting in four

   deathsand dozensofinjuries. Id.
          In February 2003,the governm entagain em ployed m ilitary force against

   protesters,thistim e in Bolivia's capital,La Paz,resulting in 33 deaths,including




                            In any event,Plaintiffs rel
                                                      y on a cedified translation ofthe Republi
                                                                                              c Plan,
   an   e en an s o no expressly dispute the accuracyofthe translation.
                                                    5
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   civilians.1Z 1120,Plaintils'Ex.L (delGranado Decl.IN 8-9).? W henthe mayorofLa
                      '




   Paz called DefendantBerzain to express concern aboutthe violence and the need to

   pacifythe city,DefendantBerzain said:''M ayor,i
                                                 fthere are 5 dead,itdoesn'tmatterif

   there are 50 more,as Iong as we solve the problem .''Plaintiffs'Ex.L (delGranado
   Decl.119).Shodlyafterthe events ofFebruary2003,DefendantBerzain Ieftthe
   governm ent- though he m aintains thathis resignation was unconnected to the

   violence. Plaintiffs'Ex.VV (Berzain Dep.Tr.106-108).
         In M arch 2003,in response to the violence ofFebruary,the Perm anentAssem bly

   ofHum an Rights ofBolivia- a nongovernm entalhum an rights organization- soughtto

   address the rising tensions in Bolivia by inviting aIlofthe country's politicalpadies and

   socialorganizations to a meeting to discuss an agreem entto prom ote nationalunity.

   Plaintiffs'Ex.B (Albarracfn Decl.% 21).The onlypoliticalpadythatdid notattend was
   Defendants'pady,the NationalRevolutionary M ovem ent,w hich had sentan observer

   withoutauthority to padicipate. ld-. The meeting failed to produce an agreement.1Z
                 B.       The Events ofSentem ber2003 in Sorata and W arisata

         The m ostsignificantprotests began in Septem ber2003,and by the second week

   ofSeptem ber,peasantIeaders wenton a hungerstrike in E1Alto,Bolivia and began a

   blockade ofroads in the high plateau region (the ''altiplanon). Plaintiffs'Ex.L (del
   Granado Decl.1111).These roadblocks led to approximately 1,000 tourists in Sorata,
   Bolivia- there to celebrate a popularannualreligious festival- becom ing stranded in




          ?There is1 however, evidence thatarmed rebelpolice units had fired atm ilitarypersonnel
   stationed infrontofthe PresidentialPalace amidthisconfrontation.Defendants'Ex.7(May2003OAS
   Rep.at7).
                                                    6
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   the town.See Defendants'Ex.11(Three Prosecutors'Rep.at454).
                                                             ,8Defendants'Ex.
   61(Ramirez Dep.Tr.5028-51:18,129:18-23).The partiesdispute how dire the situation
   in Sorata becam e as the blockade continued forovera week,butthere is evidence that

   food supplies were running Iow and that,w hile som e tourists were able to leave,others

   were unable.See.e.c.,Defendants'Ex.61 (Ramirez Dep.Tr.74:11-19)*
                                                                  ,Defendants'
   Ex.98 (RamirezDep.Tr.131:19-133:21).
                                      ,Plaintiffs'Ex.QQQ (Ramirez Dep.Tr.37:2-5)*
                                                                                ,
   Plaintiffs'Ex.J(Davis Decl.117).There isalso evidence thatdiplomatic
   representatives,concerned forthe safety and security oftheircitizens,dem anded that

   Bolivia'sgovernmentintervene.Defendants'Ex.11(Three Prosecutors'Rep.at454).
          Am idstthese rising tensions,DefendantBerzain had returned to the cabinetas

   MinisterofDefensesometime inAugust2003. Plaintiffs'Ex.VV (Berzain Dep.Tr.108).
   Between September10 and 12,2003,the Republic Plan was putinto effectby the

   military. Plaintiffs'Ex.NN (Transcript,Audio Recording ofTrialofResponsibilities
   TestimonyofJuanVeliz Herrera at2-4).9 Additionally, in September2003,the
   Com m anderin Chiefofthe Arm ed Forces issued a ''Red Alerf'




          Com m unity leaders from Sofata m etwith theircounterpads in W arisata,Bolivia

   on September18 to negotiate how to getthe tourists outofSorata overthe com ing




          BPlaintiffsassertthatDefendants'Exhibit11 is inadm issible hearsay. Butasdiscussed in
   SectionV.A,infra,Exhibit11 is adm issible underthe public records exception to the hearsay rule.
           9Defendants moved in Iim ine to exclude aIImaterialconcerning the 2009 proceedings in Bolivia
   known asthe uTrialofResponsibilities.' See DE 360. The Courtwillrule on the admissibilityofthis
   materialin a separate written order,and only materials thatthe Courthasfound adm i ssible are
   considered inthis Order.
                                                     7
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  days. Plainti#s'Ex.N (Garcia Decl.113).10,11 Two days later,however,the Bolivian
  governmentsentina convoyofarmyand policeforcestotransportthetourists(and
   ultimatelysome Sorata residentswho decided to Ieave due to the situation)outof
   Sorata. Defendants'Ex.11 (Three Prosecutors'Rep.at455). DefendantBerzain also
   arrived in Sorata on Septem ber20- w ith DefendantLozada's authorization- and Iocal

   com m unity leaders spoke with DefendantBerzain to discuss a plan to transpod people

   through the roadblocks,including those in W arisata,withoutm ilitary interference.

   Plaintiffs'Ex.N (Garcia Decl.!18)*
                                    ,Plainti#s'Ex.VV (Berzain Dep.Tr.121:15-122:14,
   124:16-125:18). DefendantBerzain,who wasin ongoing contactwith Defendant
   Lozada,rejected the non-m ilitary alternative,stating to the community leaders thatthere
           10Defendants argue thatGarcia's declaration is a sham and cannotbe considered because itis
   inconsistentwi
                th a sworn statem entthathe gave to Boli vian police investigators in June 2004. Reply
   SMF!1315(ci
             ting Defendants'Ex.106(Garcfa PoliceStmt.)).'W hena padyhasgi
                                                                         venclearanswersto
   unambiguousquestions which negate the existence ofany genuine issue ofmaterialfact,thatparty
   cannotthereaftercreate such an i ssue with an affidavi
                                                        tthatmerelycontradicts,withoutexplanation,
   previously given cleartestimony.''Van T.Junkins & Assocs..Inc.v.U.S.lndus..Inc.,736 F.2d 656,657
   (11thCir.1984).The inconsistenciesbetween Garcfa'sdeclaration andhisstatementtothe police,
   however,concernonly his actions and observationsafterDefendantBerzafn and the fleetofbuses
   carrying touristsdeparted Sorata on September20,2003. ln hi s statem entto the police,Garcia stated
   thathe ''returned home''afterDefendantBecain and the tourists leftSorata. Defendants'Ex.106
   (Garcia Police Stmt.at1).Inhisdeclaration,he now statesthatafterDefendantBerzainandthetourists
   departed,he actually 'Ieftin a carwith some ofthe otherIeaders in the communi   ty ...towards the
   caravan to help escortthe tourists through W arisata''and observed soldiers shooting atcivilians.
   Pl
    aintiffs'Ex.N (Garcia Decl.II!I20-28).The Courtagreesthattheseporti
                                                                      onsofGarcia'sdecl
                                                                                      arationare
   inconsistentwith his 2004 statementto the police,and willtherefore disregard these portions ofhis
   declaration. The Courtwillnot,however,disregard the statem ents in Garcia'  s declaration concerning the
   events Ieading upto the departure ofDefendantBerzain and the touristsfrom Sorata,as there is no
    inherentinconsistency between those statements and Garcia'  s statementto the police- both statements
   describe DefendantBerzafn'sdisinterestwith a peacefulresolutionto the si  tuation.
            11Defendants also argue thatGarcia,sdeclaration and severalotherofthe declarations relied
    upon by Plaintiffs may notbe considered because lplainti
                                                           ffs have notm ade the required showing thatthe
    Bolivian declarantswillappearattrialm' DE 404 at16.W hile the Coud directed Plainti ffs to address
   whetherone oftheirdeclarants,Vi   ctorCanelas,would be available to testifyattrialgiven the signiscance
   ofhistestimony,see DE 374,theCoud rejectsDefendants'unsupportedargumentthatPlainti
                                                                                    ffsmust
   make a showing thateach oftheirdecl      arants willappearattrialin orderfortheirdeclarati    onsto be
   properly considered. Fudher,the Courtdoes notfind the refusalofcertain declarantsto make
   themsel  ves availabl  e voluntarilyfordeposition in Bolivia necessarily showsthatitis unlikel y thatthey will
   be willing to testify attrial,whetherIive orby video. Also,the factthatotherdeclarants have beendeni       ed
   visasdoes notrule outthe possibilitythatthey may be perm i      tted to testifyattrialby video. In sum ,the
   Courtwillconsiderthe asidavits relied upon by Plaintiffs thatsatisfythe requirements ofFederalRul        e of
   CivilProcedure 56(c)(4),assuming thereare no independentreasonsfortheCourtto refuseto consider
   specific declarations orpodions thereof. See suDra n.10.
                                                         8
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  were ordersfrom the governm entto rem ove the tourists ''
                                                          the good way orthe bad way''

  and that''ifyou oppose this,youwillface consequences.''Plaintiffs'Ex.N (Garcia Decl.
  II!I9-10),
           .Plaintiffs'Ex.RR (Lozada Dep.Tr.216:7-18),
                                                     *Plaintiffs'Ex.VV (Berzain Dep.
  Tr.122:11-13).Ashe continued to be pressed bycommunity leaders,Defendant
  Berzain responded:''Fucking Indians,I'm going to shootyou. Leave me to do my

  work.' Plainti#s'Ex.N (Garcia Decl.1114). DefendantBerzain then ordered m ilitary
  officersto Iookforbusdrivers to transportthe tourists.Id.% 15.
         Also on Septem ber20,a m eeting took place in ElAlto between government

   officials and com m unity leaders in an effortto resolve the conflictpeacefully.

   Defendants'Ex.58 (Harb Dep.Tr.30:11-33:3).These negotiationswere ongoing and
   had yetto reach an im passe when they ended abruptly afterthe com m unity Ieaders

   received phone calls aboutthe m ilitary operation to escod the tourists outofSorata. Id.

   at33:12-33:25,40:12-41:11.
          Late in the m orning on Septem ber20,the m ilitary convoy accom panying the
   buses oftourists IeftSorata forLa Paz,by way ofW arisata. See,e.c.,Plaintiffs'Ex.S

   (Smith Decl.!114).
                    ,Plaintiffs'Ex.N (Garcia Decl.% 17). DefendantBerzain departed
   Sorata byhelicopter.Plainti
                             #s'Ex.VV (Berzain Dep.Tr.126-27).




          O n the way from Sorata to W arisata,people on the buses observed soldiers

   firing atunarmed civilians. Plaintiffs'Ex.J (Davis Decl.% 13)*
                                                                ,Plaintiffs'Ex.S (Smith


                                                9
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   Decl.111118-25).There issome evidence thatcivilians threw rocksatthe convoy,and
   even used dynamite. See Defendants'Ex.11(Three Prosecutors'Rep.at455).
                                                                        ,
   Plaintiffs'Ex.S (Smith Decl.:116).There is also evidence,however,thatatthe times
   when soldiers fired upon civilians en route to W arisata,the civilians were notthrowing

   rocks orothe- ise posing athreatto the convoy. Plaintiffs'Ex.S (Smith Decl.:120),
                                                                                   .
   Plaintiffs'Ex.J (DavisDecl.IN 13,16).
           By the afternoon ofSeptem ber20,the buses reached W arisata butstopped for

   approximatelytwo hoursonthe road before entering thetown. Plaintiffs'Ex.S (Smith
   Decl.1127).
                                                                                 Shodly afterwards,

   DefendantLozada signed a written orderdirecting GeneralG onzalo Rocabado,the

   acting Com m anderin Chiefofthe Arm ed Forces,to use ''necessary force''to restore

   order.1Z at67:23-69:13,
                         *Defendants'Ex.20 (Sept.20,2003 Pres.Decreel;Plaintiffs'
   Ex.RR (Lozada Dep.Tr.229:12-232:7).GeneralRocabado then issued Directive
   27/03,which created a JointTask Force w hose m ission was to carry out''Internal

    Defense ofTerritory''(''DIT'
                               ')operations'fand restore publicorderand the Rule ofLaw.''
    Defendants'Ex.72 (Directive 27/03).
           In addition to the convoy,othersoldiers arrived in W arisata from the opposite

   direction atapproximately3:00 p.m.on September20. Plaintiffs'Ex.A (VargasDecl.11
    15).The armyand police forces in W arisatawere fired upon from the hillsand some
    localhomes,and soldiers and policemenwere killed. Defendants'Ex.11 (Three
    Prosecutors'Rep.at455).12 There isalso evidence,however,thatthe militaryshot

            12Defendants attem ptto relyon othersourcesofevi    dence to describe the clash between armed
    protesters and the m i
                         litaryconvoy in W arisata in greaterdetail,specifically,U.S.State Departmentcables
                                                      10
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   indiscrim inately atcivilians w hen there were no arm ed civilians firing shooting atthe

   soldiers. See Plainti
                       ffs'Ex.A (VargasDecl.II!I17,19-22).
                                                         ,Plaintiffs'Ex.QQ (Rojas
   MamaniDep.Tr.75:12-77:3).Soldierswere ordered to switch from non-lethalto lethal
   munitionsand to ''shootanything thatmoves.''Plainti
                                                     ls'Ex.A (Vargas Decl.II!I17-
   18).13 Theyuwere never,in anyway,warned that(they)should tryto avoid civilian
   casualties.''Id.115. Soldiers proceeded onfootdown the main avenue ofW arisata,
   while specialforces with ''skim asks,helm ets,radios ...and specialized guns''m oved

   through the backside oftownto ''
                                  takethe hilI.''ld.1119.14 Soldierswere repeatedly
   ordered to shootatanything thatm oved,w ith a superioratone pointtelling them that,

   ''Iilfyou see a fly,shoot.''ld.1120.The militaryshotatcivilians,into houses,and at
   windows despite notseeing any civilians shooting back. Id.11%20-22.
           Forthree to fourhours,the m ilitary advanced and reached the hom e ofdecedent

   Marlene Nancy Rojas Mamani('DecedentMarlene Mamani'')inW arisata. Plaintiffs'Ex.
   QQ (RojasMamaniDep.Tr.77:15-23),
                                  'Plaintiffs'Ex.PP (Ramos MamaniDep.Tr.22:7-
   24:16). DecedentMarlene Mamani,an eight-year-old girl,wasfatallyshotby a single
    bulletwhile standing atthewindow ofherhome.PlaintiffsEx.PP (Ramos MamaniDep.
   Tr.22:7-24:16).AfterDecedentMarlene Mamaniwas shot,hermotherIooked outthe
   window and the onlypeople she saw were soldiers.1Z Inaddition to Decedent


            tary and otherBoli
    and m ili                 vian governm entrepods. Plaintiffs argue thatthese documents are
    inadmissible hearsay. Asdiscussed in Secti  ons V.B-C,infra,the Bolivian governm entreportsand the
    U.S.Sta1 t/DDe padment cabl es ar
                                    e notadm  issible.
                 efendantsargue thatthe statem ents in Mr.AguilarVargas'declaration as to whatthird parties
    told him are inadmissible hearsay. Butwi th respectto the orders given to him by his superi
                                                                                              ors,these out-
    of-coud statements are notbeing o#ered as evidence thattheircontentsare true. See Fed.R.Evi      d.
    801(c)(2).Thesame istruewithrespecttotheordersdescribed in Plaintiffs'ExhibitM (FloresLimachi
    DecI.)and Plaintiffs'ExhibitP (Ortega DecI.),discussed infra.
           14A Iso presentwas a counter-terrori
                                              stforce known as the Chacha umas,which wasonI
    de Io able via a directorderfrom DefendantLozada.

                                                      11
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   M arlene Mam ani,atleasttwo otherci
                                     vilians were killed in W arisata on Septem ber20,

   and severalmorewere injured.Defendants'Ex.11 (Three Prosecutors'Rep.at455).
                 C.      The Events ofOctober12,2003 in ElAlto

         In response to repods ofthe m ilitary's use offorce againstcivilians,opponents of

   the Lozada governm entbegan significantcam paigns ofcivildisobedience in and

   around La Paz. These cam paignstook the form ofprotests,marches,roadblocks,

   generalstrikes,and dem onstrations.Theircentralfocalpointwas the city ofEIAlto,

   which is Iocated on a high plateau thatstands above La Paz and contains one ofthe

   main roads going in and outofthe capital. See Defendants'Ex.43 (Bedoya Dep.Tr.
   199:15-200:20),
                 .Defendants'Ex.46 (Bedoya Dep.Tr.199:15-200:20),
                                                                *Plaintiffs'Ex.N
   (Garcia Decl.$:128-30),
                         .Plaintiffs Ex.T (Soria Decl.:14),
                                                          .Plaintifs'Ex.U (Zabala Decl.
   !N 4-5,8-9).The partiesdispute the extentto whichthese protests impacted La Paz.
   Ata m inim um ,however,itis undisputed thatattim es the city was broughtto a standstill,

   publictranspodation was light(ifnotnonexistent),and stores,restaurants,and other
   businesseswere mostlyclosed.See.e.a.,Plainti#s Ex.T (Soria Decl.116),
                                                                       .Plaintiffs'
   Ex.U (Zabala Decl.:111),
                          *Defendants'Ex.48 (Berindoague Dep.Tr.62:11-12)'
                                                                         ,
   Defendants'Ex.55 (Meruvia Dep.Tr.18:13-19:10).
         Atthe sam e tim e,the Lozada governm entcontinued its m obilization ofthe

   ArmedForces.Followingtheviolence inW arisataonSeptember20,new solàiers,
   rations,and weaponsarrived atthe lngavibarracksin ElAlto. Plaintiffs'Ex.A (Aguilar
   Vargas Decl. l!
                 !l26,28).15 Am ong the new units were Green Berets,tank crews,
   militarypolice,and artillery regiments. Id.1126. Conscriptswere directed to change

          15Later, additionalregimentswould arrive from Santa Cruz,in eastern Bolivia. Plaintiffs'Ex.A
   (AguilarVargasDecl.1142).
                                                    12
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   from FAL ri
             fles to M-16 autom atic rifles,and were shown ''how to Ioad the guns and

   switchfrom single shotto machine gun burst.''ld.1125.Beginning in early October,the
   military was seen EIAlto,especially along Avenue Juan Pablo 11,
                                                                 .Iow-flying planes were

   seenaswell. See Plaintiffs'Ex.E (Aramayo Decl.:18),
                                                     .Plainti
                                                            ffs'Ex.T (Soria Decl.:1
   7),
     .Plaintiffs'Ex.U (Zabala Decl.!!11). On October8,the militarydetained civilians
   who were outon the streetand broughtthem to the lngavibarracks,where they were

   threatened and beaten. Plaintils'Ex.E (Aramayo Decl.II!I32,40). In atIeastone
   instance,a detainee was taunted with racialslurs as officers pointed weapons athim

   and threatened to shoot.!Z IN 34-37,41.
           Events reached a tipping pointstarting on October10. Late thatevening,

    DefendantBerzain held a m eeting atthe M inistry ofDefense with top m ilitary officers,

    aswellasleadersfrom the La Paz GasStationsAssociation. Plaintiffs'Ex.O (Loza
    Decl.:(:112-13,15-16). There,DefendantBerzain emphasized the need to alleviate
   gasshortages bytranspoding gasto La Pazfrom the Senkata gasplantin ElAlto.% 11
    17.W hen told thata plan to use the m ilitary to transportgas would be risky,he became

    angry on m ore than one occasion and threatened to penalize gas station owners who

    did notcooperate. Id.11% 17-21.And whenwarned thata militaryoperation could result
    in a fatalexplosion,DefendantBerzain responded:''There willbe deaths,butthere w ill

    also be gasoline.''Id.:121.16 DefendantBerzain nodded aftera generalproposed that
    the m ilitary be used to transpod gasoline in La Paz,and the operation was planned

    duringthe meeting. Id.1122.

           16Defendantsdo notdisputethatDefendantBerzainstatedthat''Itlherewillbedeaths,butthere
    willalso be gasoline.' According to Defendants,DefendantBecain made this com ment''in response to a
    com mentthata tanker'   coul
                               d cause an explosion ata gas stationf'notin response to any concerns that
    deathscould becaused bythe mili
                                  tary.' ReplySMF$ 276(quoting Pl
                                                                aintiffs'Ex.O (Loza Decl.1121)).
                                                    13
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          Meanwhile,the Lozada governmentrejected effortsbycivilsociety groups to
   negotiate a peacefulend to the tensions. On the evening ofO ctober11,

   representatives from the Catholic Church and the Perm anentAssembly ofHum an
   Rights ofBolivia m etwith DefendantLozada and his m inisters. Plaintiffs'Ex.B

   (Albarracin Decl.:11132-33). In orderto show thatthe governm entwas m ore responsive
   and Iess relianton force,the representatives suggested thatDefendantLozada replace

   DefendantBerzain and one otherminister.% 1134.W hen concernswere raised about
   civilian deaths,DefendantLozada responded thatforce was necessary to restore order,

   saying:''lfthey wantto dialogue aboutthe gas,then we'llhave dialogue'
                                                                       ,butifthey want

   waroverthe gas,then they'llhave war,and we'llshootaIIthe violentpeople in ElAlto.''

   ld.$ 35.
          Also on October11,DefendantLozada issued,w ith the signed approvalofhis

   cabinet,Decree 27209. Defendants'Ex.6 (Supreme Decree No.27209).An orderto
   the Com m anderin Chiefofthe Arm ed Forces,the decree declared a national

   emergency throughoutBolivia ''in orderto ensure a regularsupply ofIiquid fuelto the

   people by protecting storage facilities and ensuring fuelshipm ents.'' Id.at71. It

    ordered the Arm ed Forces to 'assum e controlofshipm ents in tankertrucks and other

   vehicles and to secure storage facili
                                       ties,pipelines,service stations,and a1Itypes of

    infrastructure needed to ensure regulardistribution and supply ofIiquid fuelsto the

    people ofthe Depadm entofLa Paz.'' ld. The M inistry ofDefense was directed to

    ''establish the mechanism s necessary'
                                         'forthe Armed Forces to execute its m ission. Id.

    Finally,the decree provided thatd'Itlhe Bolivian State guaranteescompensationforany



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   damage to propel and persons thatm ightoccuras a resultofcompliance withthe
   term s hereof.'' Id.
          On October12,the Com m anderin Chiefofthe Arm ed Forces,GeneralRoberto

   Claros Flores,issued Directives 33/03 and 34/03. Both directives cited Suprem e

   Decree No.27209forauthority.See Defendants'Ex.73 (Directive 33/03).
                                                                     ,Defendants'
   Ex.74 (Directive 34/03). Directive 33/03 created a JointTask Force com prised ofaII
   three branches oftheArmed Forces- the army,airforce,and navy- to ''perform (DIT)
   operations as ofIthe date ofthe orderl,throughoutthe entire nationalterritoryto restore
   public orderand the rule ofIaw w ith the purpose ofensuring thatthe population is able

   to carryoutits normalacti
                           vities.''Defendants'Ex.73 (Directive 33/03 at262-63).
    Directive 33/03 ordered thatthe JointTask Force be established in six areas ofthe

   country,K at263,and Directive 34/03ordered a JointTaskForce specificallyforEI
   Alto. Defendants'Ex.74 (Directive 34/03).
          Also on October12,protesters am assed on roads in EIAlto and La Paz. Two

    Iocations hold padicularrelevance to this case. The firstis the area nearthe Senkata

    gas plant,in the south ofEIAlto;the second is the Rîo Seco area,in the north ofElAlto.

    Eyewitness repods indicate thatm em bers ofthe Bolivian m ilitary indiscrim inately shotat

    unarm ed civilians in both Iocations.
          Senkala.- Protesters in Senkata gathered outside the Iocalgas planton the

    morning ofOctober12. Plaintiffs'Ex.l(Castaôo Decl.II!I12-14).There isevidence
    that''
         the m obilized civilian population ...arm ed with M auserrifles and dynam ite'
                                                                                      '

    carried out'attacks in the Senkata area ofEIAlto on the tankertrucks transpoding

    gasoline to the city ofLa Paz.''Defendants'Ex.11 (Three Prosecutors'Reportat


                                               15
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   479).17 There isalso evidence,however,thataftermilitarytanks and trucksexited the
   gas plant,an officerbegan shooting atunarm ed civiliansw ithoutwarning as the civilians

   fled in differentdirections. Plaintiffs'Ex.I(Castaho Decl.II!I16-17). Specifically,near
   Colegio Jose M anuelPando,one officerfired a m achine gun down an alley atcivilians,

   including children,who werefleeing and trying to hide. ld.!!17. On the otherside of
   the street,soldiers lined up in form ation,pointed theirguns ''in the calculated way

   sharpshooterstargetpeople'
                            'and opened fire oncivilians. ld.:118.
                                                                 ,see also K 11% 21-
   23. In anotherarea ofSenkata,nearthe Bolivia Bridge,soldiers were ordered to shoot

   atunarmed civilians plaintiffs'Ex.A (Aguilarvargas Decl.s 34).18 These soldiers
                          .



   ''were using machine gunsand sholoting)like crazyatcampesinosand wom en.''ld.11
   38.
           DecedentLucio SantosGandarillasAyala (''DecedentAyala'')wasshotand killed
   inthe Senkata area on October12.SMF 1186'
                                           ,CSMF15 86,284.Accordingto Plaintiff
   Sonia EspejoVillalobos,DecedentAyalawastraveling through Senkata to obtain
   cooking gasfrom hisbrother's house. Plaintiffs'Ex.K (Espejo Decl.114).
                                                                        ,Plaintiffs'Ex.
   HH (Espejo Dep.Tr.31:3-13,33:2-34:24). DecedentAyala waswearing a red capand
   a colorfulyellow,red,and greenjacketthatday. Plainti
                                                      ffs'Ex.K (Espejo Decl.:14).
                                                                                ,



           17The sam eparagraph ofthe Three Prosecutors'Repod thatDefendants cite also states thatthe
    military'sresponsetothese attackswas''disproportionall) ..,Ieadingtodeathsandinjuriesthatcould
    have beenavoided.' Defendants'Ex.11(Three Prosecutors'Rep.at480). Nevedheless,theCourt's
    roleisnottojudgetheproportionalityofthe military's responsetoarmed protesters,buttodetermineif
   there is an issue ofmaterialfactas to whetherthe Plaintiffs'relatives in thi
                                                                              s case were intentionafly kilfed
   by the military. The evidence thatthe mili
                                            tarywas responding to an armed attack atone pointin tim e
   does notcreate a dispute that,atothertimes,the m ilitary shotunarmed civilians indiscrim inately.
            IBDefendantsnote that, according to M r.AguilarVargas,he received an orderto shootbased on
    anofficer'sbeliefthat''campesinos. wereshooting,throwinggrenadesat(the military)andtaking
    (their)munitions.' ReplySMF11281(al   terationsinoriginal)(quoting Plaintiffs'Ex.A (AguilarVargasDecl.
    :134)).Mr.AguilarVargas,however,did notseeanyarmedprotestersandnoneofhisfellow soldiers
    were injuredorkilledthatday. Plaintiffs'Ex.A (AguilarVargasDecl.M I34,39).
                                                       16
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   Plaintiffs'Ex HH (Espejo Dep.Tr.34:4-7).19 A witnessto the military'stargeting of
                 .




   civiliansin senkata saw a man wearing a yellow and greenjacketgethitbya single
   gunshotinthe vicinity ofapproximately a hal
                                             fdozen soldiers.Plaintiffs'Ex.I(Castaso

   Decl.IN 18-19).
           Rio Seco.- Protesters gathered in two areas ofRio Seco:the Ex Tranca and

   Rio Seco Bridge.See Plainti
                             ffs'Ex.D (Apaza Morales Decl.!15)*
                                                              ,Plaintiffs'Ex.U
   (Zabala Decl.II!I10,14). Flanked bytrucksand tanks,two columnsofarmed soldiers
   advanced down Avenue Juan Pablo 11toward the Rio Seco Bridge. Plaintiffs'Ex.D

   (Apaza Morales Decl.% 5)*
                           ,Plaintiffs'Ex.U (Zabala Decl.111110,14). Soldierswere
   ordered to shootatcivilians in thisarea. Plaintiffs'Ex.P (Odega Decl.:1% 25-27).
   W hen a youngersoldierrefused to fire atcivilians,he was shotby an officerin frontof

   othersoldiers. Id.111125-27.Aftertheyoung soldierwasshot,othersoldiers began
                                                        20
   shooting atciviliansinthe area.Id.11% 27-28.


             19DefendantsnotethatMs.Espejo hasgivenvaryingdescriptionsofDecedentAyala'sjacket.
    SeeReplySMF N284.lnherDecember2017declaration,Ms.EspejostatedthatDecedentAyalawas
    'wearinga colorfulyell  ow,red,andgreenjacketand a red capa'Plaintiffs'Ex.K (Espejo Decl.:14).She
    previousl ytestifiedinherJuly2017 depositionthatDecedentAyala waswearing''ared hatand ajacket,
    acol orfuljacket.' Plaintiffs'Ex.HH (EspejoDep.Tr.34:4-7).And in hertestimonyattheTrialof
    Responsibilities,Ms.Espejogaveno descriptionofwhatDecedentAyala waswearingthedayhewas
    shot.See Defendants'Ex.104 (Transcript,Audio RecordingofTestimonyofSoniaEspejoVillalobos,
    TrialofResponsibili  ties).These minordi#erencesandomissionsarecedainlynoreasonforthe Coudto
    disregardMs.Espejo'sdeclaration.
             20Defendantscontend thatElaTrinidadOrtega'sdeclarationisasham.See ReplySMF:1291.
    ln hertestimony atthe TrialofResponsibilities and her2003 police report,Ms.Ortega did notmention
    anything abouthearing an orderto shootcivilians,seeing the m ilitary shootcivilians,orseeing an omcer
    killa soldierwho refused to fire oncivilians. Specifically,when asked atthe TrialofResponsibilities
    whethershe''slaw!anythingonthe Rfo SecoIBridgel,''Ms.Ortegaresponded onlythat''therewere
    mili
       tary,themili tarywere alreadystationed.''Defendants'Ex.105 (Transcriptat10,Audio Recordingof
    TestimonyofElaTrinidadOdega,TrialofResponsibilities).Ms.Ortega now statesthat,attheTrialof
    Responsibilities,she'wasonlyaskedaboutIasingleeventwhenshewasbeatenbysoldiersland did not
    haveanoppodunityto furtherelaborateonwhatshe saw.''Plainti   ffs'Ex.P (Ortega Decl.!!46).
           As noted above,see sunra n.10,the rule permitting districtcoudsto disregard sham amdavi
                                                                                                 ts at
    the summaryjudgmentstageapplieswhenadeclarant'hasgiven clearanswersto nnambiguous
    questi
         ons which negate the existence ofany genuine issue ofm aterialfact,''Van T.Junkins,736 F.2d at
    657. The rule ''
                   should be appli
                                 ed sparingly because ofthe harsh effectitmay have on a party's case.'
    Furcronv.MailCtrs.Plus,LLC,843 F.3d 1295,1307(11thCi
                                                       r.2016)(internalquotationmarksomitted).
                                                     17
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          Three decedents in this case died in Rio Seco on O ctober12:Teodosia

   Teodosia Morales Mamani(''DecedentTeodosia Mamanin),Marcelino CarvajalLucero
   (''DecedentLuceroN),and RoxanaApaza Cutipa (''DecedentCutipa').
          O n Avenue Juan Pablo 11nearboth the Ex Tranca and Rio Seco Bridge,a bullet

   cam e through the wallofthe house where DecedentTeodosia Mam ani,who was

   pregnantatthetime,was sitting.SMF M I101-02'
                                              ,CSMF 1111101-02,289.She and her
   unborn childdied two daysIater. SMF !1102,
                                            *CSMF 11102.The m ilitary wasseen firing
   atfleeing civilians in the area,and was outside ofDecedentTeodosia M am ani's hom e

   whenshe wasshot.See Plaintiffs Ex.D (Apaza Morales Decl.IN 9-22). lndeed,
   shortl
        y before a bulletstruck her,soldiers were pointing theirguns atw indows,including

   the windows ofDecedentTeodosia Mamani'shome. 1d.IN 16,18.
          DecedentLucero Iived at93 Avenue Juan Pablo II.SMF :1108;CSMF !(108.
   He was shotand killed on October 12 when a bulletcam e through the window ofhis

   second storyhome.SMF :N 107-08.
                                 ,CSMF IN 107-08,296. Soldiers were seen
   marching and shooting along Avenue Juan Pablo 11the aqernoon DecedentLucero was

   shot. Plainti#s'Ex.C (Apaza Cutipa Decl.II!I13-15).
          O n the evening ofOctober12,DecedentCutipa was shotand killed on the

   rooftop terrace ofherhome. SMF 1192'
                                      ,CSMF 111192,297. Curious aboutthe sounds
   they heard outside,DecedentCutipa,heryoungerbrotherGuzm én Apaza Cutipa,and


   Itoperates only 'in a Iimited mannerto exclude unexplained discrepancies and inconsistencies,as
   opposed to those 'which create an issue ofcredibilityorgo to the weightofthe evidence.'' Id.at1306
   (11thCir.2016)(quotingTiooensv.CelotexCorD.,805 F.3d949,954 (11thCir.1986)). Stated
   differently,''
                an opposing pady's affidavitshoul
                                                d be considered al
                                                                 though itdiffers from orvaries from his
   evidenceasgi   venbydepositionoranotheraffidavi tandthetwo inconjunctionmaydiscloseanissueof
   credibili
           ty.'Ld= at1307 (bracketsomitted)(quotingTinDens,805F.3dat953).
          The Courtconcludes thatMs.O dega was neverunam biguouslyasked aboutseeing the incidents
   she now described in herdeclaration.The m ore detailed accountofthe RIo Seco events contained in
   thatdeclarationtherefore presentsa credibili
                                              tyissue and cannotbe disregarded as a sham .
                                                     18
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   theircousin'sthree childrenwentup to the rooqop terrace. Plaintiffs'Ex.C (Apaza
   Cutipa Decl.TN 9-10). Only DecedentCutipa was tallenoughto see overthe roofs
   terrace withoutstanding on anything.1j..:111. Mr.Apaza Cutipa and the others stood
   on bricks and boxes. ld. He saw tanks and m ilitary trucks pass by,w ith soldiers on top

   ofthem shooting in aIIdirections.Id.111112-13.Afterafew m inutes passed,Decedent
   Cutipawasshotinthe headwhile peering overtheterrace. Id.1118.Atthe time his
   sisterwas shot,M r.Apaza Cutipa heard a shotcom e from w here he had seen soldiers

   below onAvenue Juan Pablo II.%
                 D.     The Events ofO ctober13.2003 in La Paz

          There is som e evidence thatafterthe events ofOctober12,DefendantLozada

   soughta dialogue with cedain ofEIAlto's com m unity leaders. See Defendants'Ex.55

    (Meruvia Dep.Tr.68:12-69:18).
                                ,Defendants'Exs.12-14 (lettersfrom DefendantLozada
   to comm unity Ieaders explaining thatno decision to exportnaturalgas had been

   finalized and calling fordialogue).Nevedheless,theviolence persisted into the next
    day in a m annerconsistentwith the violence ofSeptem ber20 and October12.

    Speci
        fically,there is evidence thaton O ctober13,m ilitary regim ents shot
    indiscriminatel
                  y atunarmed civilians in the SouthernZone ofLa Paz,in boththe Xnimas

    Valleyand Ovejuyo areas.
          On October13,there was a roadblockon theXnimasValley road.Defendants'
    Ex.50 (Huanca Qui
                    spe Dep.Tr.32:6-33:9).This road isthe only road from Palca21to
    La Paz. Defendants'Ex.47 (MamaniAguilarDr.Tr.32:5-6). Leading up to October13,
    soldiers had been posi
                         tioned to guard the road in Uni,in the Southern Zone ofLa Paz,


          21palca is an im podantruralregi
                                         on from which agriculturalgoods are transported to La Paz.
    Defendants'Ex.60(Antezana Dep.Tr.139:10-14).
                                                   19
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   so thatnobody could block the road and protesters could notreach La Paz. Plainti
                                                                                  ffs'

   EX M (FloresLimachiDecl.:1114-6).22 Onthe morning ofOctober13,however,soldiers
      .



   were ordered to move towards Chasquipam pa- closerto La Pazon the AnimasValley
   road- because theywere told thata large crowd ofprotesters had gathered there.1Z
   IN 7-8.Asthe soldiersmade theirwayfrom Unito Chasquipampa,protestersthrew
   bottles,rocks,and firecrackers atthem .1k 118.Aftertherewasanexpl
                                                                   osion nearthe
   soldiers'trucks,they gotoutoftheirtrucks and confronted the protesters,aim ing their

   gunsatthe protestersto scare them.!Z 11118-9.A soldierwasthen shotand killed by
                                           23
   an unknown shooter.% !11110-12.
           The soldiers were ordered to change from non-lethalto Iethalam m unition and

   ''shootanything thatmoves.'' Id.at1113.Atthis point,however,there is evidence that
   the soldierswere no Iongerin dangerand thatthe civilians they were shooting at- w ho

   were in the hills above the road- were unarm ed,hiding,and fleeing. See Plainti#s'Ex.

   M (Flores LimachiDecl.111114,39).
                                   ,Plaintiffs'Ex.R (Sirpa Decl.11118,14,45).The
   soldiers shotatciviliansforapproximately45 m inutes. See Plaintiffs'Ex.M (Flores
    LimachiDecl.1115).The soldierswere notbeing attacked and did notassume a
   defensive posi
                tion,butshotatthe civilians from the road,in the open. Plaintiffs'Ex.R

    (Sirpa Decl.111112-14).

           22otherregiments were also presentin Uni,prim arily regiments from Santa Cruz. Pl
                                                                                           ainti
                                                                                               ffs'Ex.
    M (Flores LimachiDecl.sy5)
            23Defendants rel
                              .
                             on a hostofinadm issible evidence in an effortto show thatthe soldi
                                                                                               erswere
    facedwith notjustone shooter,butan'ambush'inwhich'     $a mobofpeople''withfirearmsand dynamite
    shotatandattackedthesoldiers.See SMFW 119-122.Thisevidence includesmili           taryand other
    Bolivian governmentreports,discussed in Secti
                                                onsV.B-C,infra,as wellas the testim onyofGeneral
    Marcelo Eulogio Antezana Ruiz.GeneralAntezana,however,Iacks personalknowledge ofthe events of
    October13 inthe SouthernZone ofLa Paz,as aflofhis inform ation regarding these events is based on
    whathewastoldbyCaptainDieterBelmonte.See Plainti
                                                   ffs'Ex.Z (AntezanaDep.Tr.78:6-18,79:7-11).
    GeneralAntezana's testimony is therefore inadmissible hearsay,and to the extentDefendantsseekto
    o#eri
        tforthe non-hearsay purpose ofthe inform ation's effecton GeneralAntezana and hisordersto
    CaptainBelmonte,seeReplySMF :1112,itis irrelevanttotheCourfsresolutionofDefendants'Motion.
                                                    20
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         As they ran low on am m unition,the soldiers retreated,continuing to shootwhile

   theydid so.Plaintiffs'Ex.M (Flores LimachiDecl.1115).Aftera helicopterarrived to
   replenish theiram m unition,the soldiers were ordered to clim b into the hills and continue

   shooting civilians,with theirsuperiors instructing them :''whateverhead you see,you

   need to shoot.' Id.$1116-20.There isevidence that,aswith earlierin the day,civilians
   were notshooting atthe militaryatthistime either.ld.!118.
                                                           ,Plainti
                                                                  ffs'Ex.R (Sirpa Decl.
   11!118,45).
         Two ofPlaintiffs'relativeswere killed on October13 intheXnimasValleyarea at
   approxim ately the sam e tim e as the shooting described above:decedents Arturo

   MamaniMamani(''DecedentArturo Mamani'')and Jacinto Bernabé Roque (''Decedent
   Roquen).See SMF IN 125,133. PlaintiffGonzalo MamaniAguilar,DecedentArturo
   M am ani's son,was presentatthe location where his fatherand DecedentRoque were

   shot. Plainti
               ffs'Ex.MM (MamaniAguilarDep.Tr.90:20-91:3,102:10-25). Mr.Mamani
   Aguilarhad Iefthis home on the morning ofOctober13 to tend to his fam ily's Iand and,

   while on his way,he witnessed the m ilitary m oving through the area. Id.at62-64. Mr.

   M am aniAguilarwas unable to m ake itto his fam ily's Iand before the m ilitary began

   shooting 'in differentdirections.' ld.at65:3-16,91:17-22. He saw DecedentRoque

   attem pting to hide from the m ilitary behind som e tallstraw on the hilltop they were both

   on (Huaichichuni),and crawled behind him,Iying down behind the straw. Id.at72:23-
   73:21,82:23-85:21. Every time M r.Mam aniAguilarorDecedentRoque attem pted to

   move,the militaryfired towardsthem .% at91:21-22. DecedentRoque wasshotwhile
   M r.Mam aniAguilarwas stillhiding behind him ,and when DecedentRoque was shot,

   M r.Mam aniAguilarwas close enough thatthe blood splattered on his face. Id.at


                                               21
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   90:20-91:16. Additionally,while hiding,M r.Mam aniAguilarsaw his fatheron the hilltop

   directlyacrossfrom his position (Huaichichuro),and heard him cryoutand slip after
   being shot. Id.at74:15-75:2,102:10-11,115:8-24.

          Asthe soldiers leftthe AnimasValley in m ilitarytruckson October13,they
   proceeded backto theirbarracks,throughthe Iocality ofOvejuyo. Plaintiffs'Ex.M
   (FloresLimachiDecl.II!I25-26).They had orders to shootasthey passedthrough
   Ovejuyo,including atcivilianswho were throwing rocks and bottlesatthe soldiers. Id.
   111126-28.An o#icerin a militarytruckshotatfleeing civilianswitha machine gun. Id.11
   29.Thatsame afternoon in Ovejuyo,decedentRaûlRamôn Huanca Mârquez
   (''DecedentMârquez'')wasshotand killed.CSMF !!314,
                                                    *Plaintiffs'Ex.Q (PariDecl.IN
   8-13),
        .Defendants'Ex.50 (Huanca Quispe Dep.Tr.39:2-10,45:13-23).
           DecedentM érquez had Iefthis home aqerIunch on October13 to buy a Coca-

   Cola. Defendants'Ex.50 (Huanca Quispe Dep.Tr.38:21-25).Although Decedent
   M ârquez and his daughter,PlaintiffFelicidad Rosa Huanca Q uispe,heard gunfire

   earlierand although the storesonthe main road in Ovejuyowere closed,Decedent
    Mârquez wentto tryto buy a Coca-colafrom the store because ''Ihle would always Iike
   to drink a cold one aqerlunch'
                                'and he believed the store's ownerwould sellhim the

    beverage. Id.at39:5-20. DecedentM érquez was Iaterseen neara store,hiding

    behind a wooden lightpole nearbyapproximatelyfifteen soldiers. Plaintiffs'Ex.Q (Pari
    Decl.W 8-9,12).24 He was unarmed Id.!110. DecedentMérquez moved and an
                                              .



    eyewitness,Juan Carlos Pari,heard ''whatsounded ...Iike a rifle shot''and saw



           24The soldiers were Iighterskinned and tallerthan people from the indigenous comm uni
                                                                                               ties in the
    altiplano,andspoke withanaccentofpeoplefrom the easternpartofBolivia. Plainti
                                                                                ffs'Ex.Q (PariDecl.
    1115).
                                                 22
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   DecedentMérquezgrab the pole andfallbackwards. Id.1113.25 The soldiers continued
   shooting''in aIldirections.''% Afterthe soldiershad passedthrough town,Ms.Huanca
   Q uispe found herfather's body on the streetnearthe store. Defendants'Ex.50

   (Huanca Quispe Dep.Tr.49:20-23).
          Afterthe above described events ofSeptem berand October2003,Defendant

   Lozada resigned underproteston October17,2003,and his cabinet,which included

   DefendantBerzain,wasdissolved. SMF 1121. Followingthe Bolivian Congress'
   acceptance ofDefendantLozada's resignation,he and DefendantBerzain leftBolivia

   forthe United States. ld.
                  E.     M ilitarv Structure and Authoritv

          DefendantLozada,as the PresidentofBolivia,was the Captain Generalofthe

   Armed Forces.SMF!1154. The Bolivian Constitution in e#ectin2003 provided:''The
   Armed Forces are subordinate to the Presidentofthe Republic and receive theirorders

   adm inistratively through the M inisterofDefense,and in technicalm atters,from the

   Commanderin Chief.''Defendants'Ex.10 (BoI.Const.ad.210). The OrganicLaw of
   theArmed Forces('dorganic Law'')in effectin Bolivia in 2003 provides:'
                                                                        tThe
   Com m anderin Chiefofthe NationalArmed Force is the highestCom m and and
    Decision-m aking body ofa technical/operating nature,forthe perm anentcoordination

   and direction ofthe Armed Forces.''Defendants'Ex.36 (Organic Law ad.36). Plaintiss
   assertthatthis decision-m aking body is referred to as the 'Com m and in Chief.'' CSM F

   11159.Regardless ofthe terminology,the Organic Law is clearthatthis entity is

           25Defendants appearto argue thatthe Courtmay notconsi
                                                               derMr.Pari's declaration because he
    doesnotprovideabasisforhow he knew the manhe observedwasDecedentMérquez.Repl    ySMF:1
    314. Mr.Paristatesthathe IivedinOvejuyo in2003,thathecouldclearl
                                                                   yseethestore(whichDecedent
    Mérquezevidentlyfrequented)from hishome,andthathisdeclarationisbased uponpersonal
    knowledge.The Coud finds no basi
                                   s fordi
                                         sregarding Mr.Pari's declarati
                                                                      on.
                                                  23
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   com posed ofthe Com m anderin Chief,the Office ofthe Chiefofthe G eneralStaff,the

   Inspectorate General,the GeneralStaftandthe Olice ofthe Commanderin Chief.
   Defendants'Ex.36 (Organic Law ad.37). Itis also undisputed thatthe Commanderin
   Chieftakesordersfrom the President.1i art.29.
       111.     PROCEDURAL BAC KG RO UND
         This Iitigation began a decade ago and has a lengthy proceduralhistory.

   Plaintiffs originally filed two separate suits on the sam e day in Septem ber2007.

   DefendantBerzain was sued in this Coud,while DefendantLozada was sued in the

   DistrictofM aryland. The DistrictofMaryland eventually transferred Defendant

   Lozada's case to this Court,where itwas consolidated with DefendantBerzain's case.

   Thereafter,Plaintiffs filed an am ended com plaintagainstboth Defendants stating claim s

   underthe TVPA,theAlien Tod Statute ('ATS'
                                           '),and state law. Se-
                                                               e DE 77.
          Defendants moved fordism issal,and this Coud disposed ofthatm otion by way

   oftwo separate orders. The firstorderdism issed Plainti
                                                         #s'TVPA claim s without

   prejudice forfailure toexhausttheiravailable Bolivian remedies. Mamaniv.Berzain,
   636 F.Supp.2d 1326 (S.D.Fla.2009)(''Mamani1').The Courtexplained thatPlaintiffs
   could notm ove forward on theirTVPA claim s untilthey obtained benefits underBolivian

   Law No.3955,w hich was enacted in Novem ber2008 to provide additionalm onetary

   com pensation to the heirs ofthose killed during the events of2003. ld.at1329-33. The

   Coud'ssecond orderheld thatPlaintiffsstated plausible claimsforextrajudicialkillings
   and crim es againsthum anity underthe ATS,butdism issed the balance ofPlaintiffs'

   complaint.Mamaniv.Berzain,2009W L 10664387 (S.D.Fla.Nov.25,2009)('dMamani




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          This Courtthen granted Defendants'm otion to certify Plaintiffs'ATS claim s for

   interlocutory review by the Eleventh Circuitand stayed allproceedings pending the

   com pletion ofthatappeal. The Eleventh Circuitreversed with instructions to dism iss,

   reasoning thatPlainti
                       ffshad failed to state claimsforextrajudicialkillingsand crimes
   againsthumanityunderthe ATS. Mamaniv.Berzain,654 F.3d 1148 (11th Cir.2011)

   ('dMamani111D).
          On rem and,this CourtIifted its stay and Plaintiffs filed a second am ended

   complaint.See DE 174.Thatcomplaintraisesclaimsforextrajudicialkillings under
   ATS and the W PA,crim es againsthum anity underthe ATS,and w rongfuldeath under

   state law. Defendants again m oved to dism iss,and this Courtgranted thatm otion in

   partand denied itinpad.Mamaniv.Berzain,21 F.Supp.3d 1353 (S.D.Fla.2014)
   (ddMamanilV'').Applying the Supreme Court'sdecision in Kiobelv.RovalDutch
   Petroleum Co.,569 U.S.108 (2013),holding thatthe presumptionagainst
   extraterritoriality applies to claim s underthe ATS,this Courtdeterm ined thatPlainti
                                                                                       fs'

   ATS claims do nottouch and concern the United Statesw ith sufficientforce to displace

   thatpresum ption. Mam aniIV,21 F.Supp.3d at1364-69.The Courtconsequently

   dismissed those claimsforlackofsubject-matterjurisdiction. Id.at1369.Turning to
   Plaintiffs'TVPA claim s,the Courtreached two conclusions. First,Plaintils'prior

   recoveries from the Bolivian governm entdid notpreclude theirTVPA claims against
    Defendants from m oving forw ard. ld.at1369-73.26 And second, PlaintiWs notonly

   stated plausible claimsforextrajudicialkillings underthe TVPA,butalso sufficiently
    alleged thatDefendants could be held secondarily liable underthe doctrine ofcom m and


            26W hile Defendants'interlocutoryappealofthis Court's Mam aniIIlorderwas pending,Plaintiffs
    applied forand obtained com pensation underBolivian Law No.3955.
                                                    25
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   responsibility. Id.at1373-78. Finally,the Coud declined to relinquish its supplemental

   jurisdictionoverPlaintiffs'state-law claimsforwrongfuldeathonthe ground thatthey
   involve novelorcom plex issues ofBolivian Iaw. Id.at1378-79.

          This Coud granted Defendants'm otion to cedify its W PA exhaustion and

   com m and responsibility rulings forinterlocutory appealand once again stayed all

   proceedings.The Eleventh Circuitaffirmed.Mamaniv.Berzain,825 F.3d 1304 (11th
   Cir.2016)(d
             'MamaniV'
                     '). Itagreed withthis Coud'sexhaustion determ ination,but
   declined to address com mand responsibility. ld.at 1311-14. Defendants'petition for

   cediorariwas denied by the Supreme Coud. Lozada v.Mam ani,137 S.Ct.1579

   (2017).
          Following the Eleventh Circuit's decision in M am aniV,this Coud lifted its stay

   and setthe case fortrial. The discovery period has now closed,and Defendants seek

   summaryjudgment.
       IV.       STANDARD
          The Coud willgrantsummaryjudgmenti
                                           fthe pleadings,the discoveryand
   disclosure m aterials on file,and any affidavits show ''thatthere is no genuine dispute as

   to any materialfactand the movantisentitled tojudgmentas a matteroflaw.''Fed.R.
   Civ.P.56(a).The movant'bearsthe initialresponsibilityofinforming the districtcourt
   ofthe basisforits motion,and identifying those podionsof(the recordlwhich itbelieves
   demonstrate the absence ofa genuine issue ofm aterialfact.' Celotex Corn.v.Catrett,

   477 U.S.317,323 (1986).Todischarge thisburden,the m ovantm ustdemonstrate a
    lackofevidence suppoding the nonmoving party'scase.1j..at325.
          Afterthe movanthas m etits burden underRule 56,the burden ofproduction

    shi
      fts to the nonm oving party who ''m ustdo m ore than sim ply show thatthere is some
                                               26
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   m etaphysicaldoubtas to the m aterialfacts.'' M atsushita Elec.lndus.Co.v.Zenith

   Radio Corn.,475 U.S.574,586 (1986).The nonmoving partymay notrelymerely on
   allegations ordenials in its own pleading,butinstead m ustcom e forward with specific

   facts show ing a genuine issue fortrial. Id.at587.

          As Iong as the nonm oving party has had am ple opportunity to conductdiscovery,

   itm ustcom e forw ard with a#irm ative evidence to suppod its claim . Anderson v.Libedv

   Lobby,Inc.,477 U.S.242,257 (1986).''
                                      A mere 'scintilla'ofevidence supporting the
   opposing pady's position willnotsuffice;there m ustbe enough ofa showing thatthe

   jurycould reasonablyfind forthatparty.''W alkerv.Darbv,911 F.2d 1573,1577 (11th
   Cir.1990). Ifthe evidence advanced bythe nonmoving party is merely colorable,oris
   notsigni
          ficantly probative,summaryjudgmentmay be granted.Anderson,477 U.S.at
   249-50.

        M.       EVIQENTIARY DISPUTES
          As noted throughoutSection II,supra,the parties argue thatcedain docum ents

   orcategories ofdocum ents cited to supportordispute a factare inadm issible in

   evidence.The Courtwillconsiderthese objections in turn.W i
                                                            th respectto each
   docum ent,the burden is ofcourse on the proponent''to show thatthe m aterial

    is adm issible as presented orto explain the adm issible form thatis anticipatedo'' 2010

   Advisory Com m ittee Notes on Fed.R.Civ.P.56,28 U.S.C .App.,p.922.

                 A.     Three Prosecutors'Renort
          Defendants rely extensively on an investigatory repod prepared by three Bolivian

    prosecutors who were appointed by Bolivia's ChiefProsecutorto investigate the events

    ofSeptemberand October2003. See Defendants'Ex.11 (Three Prosecutors'Rep.).
    The Three Prosecutors'Reportwas issued in late July 2004 aftera ten-m onth
                                               27
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   investigation. See Defendants'Ex.102 (Ltr.from Three Pros.to Inter-American
   Commission on Human Rights at523). Plaintiffs argue thatthe Three Prosecutors'
   Repod isinadmissible hearsaybecause:(1)itisonlya preliminary repod thatthe
   Bolivian governmentultimatelydeclined to adopt'
                                                 ,and (2)there is no ''specific
   evidentiarybasisfor(the Repod's)findingsorthe extentofits investigative effods.''
   CSMF !127. Defendants assed thatthe Three Prosecutors'Repod is adm issible under
   the public records exception to the hearsay rule. See Defendants'Reply Statem entof

   MaterialFactsin Suppod ofTheirMotion forSummaryJudgment('dReplySMF'
                                                                     ')(DE
   384):127 (citing Fed.R.Evid.803(8)(A)(ii)-(iii)).The Courtagrees.
          The publicrecordsexception to the rule againsthearsay providesthat''(a1record
   orstatem entofa public office''is notexcluded as hearsay:

          (A)ifitsetsout:
                 (i)the office's activities'
                                           ,
                 (ii)a matterobserved while undera legaldutyto report,butnot
                 including,in a crim inalcase,a m atterobserved by Iaw-enforcem ent
                 personnel;or

                 (iii)ina civilcase oragainstthe governmentina crim inalcase,
                 factualfindings from a Iegally authorized investigation'
                                                                        ,and

          (B)the opponentdoes notshow thatthe source ofinformation orother
          circumstances indicate a lack oftrustworthiness.

    Fed.R.Evid.803(8).
          Plainti
                ffs do notdispute thatthe Three Prosecutors'Reportis a record ofa public

    officethatwasprepared inconjunctionwith an authorized investigation.And while
    Plainti#s are correctthatRule 803 ''m akes no exception fortentative orinterim reports

    subjectto revision and review,''CSM F1127 (quoting Toole v.Mcclintock,999 F.2d


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   1430,1434-35 (11th Cir.1993)),theThree ProsecutorsReportwaspresented tothe
   magistrate judge asthe prosecutors'''
                                       finalreport,''and sentto the ChiefProsecutorand
   the Committees ofthe House ofRepresentatives,see Defendants'Ex.102 (Ltr.from
   Three Pros.to Inter-American Commission on Human Rightsat523-24).Thus,the
   Three Prosecutors'Repod is unlike the FDA reportthatwas excluded in Toole,as that

   FDA reportcontained only '''proposed'findings''and speci
                                                          fically ''invited public com m ent

   and forecasted the issuance ofa 'final'docuMentafterm ore study.'' 999 F.2d at1434.
         Additionally,the factthatthe Three Prosecutors'Reportwas subsequently

   disregarded by differentprosecutors who were appointed- seem ingly forpolitical

   reasons- to replace itsauthors,see Plaintiffs'Ex.SSS (Resolution No.091/04,
   Revocation ofRejection Resolution 16/04),isno reason to find thatthe Reportfalls
   outside the Rule 803(8)(A)(iii)exception. Plaintiffs offerno suppod forthe proposition
   thata finalinvestigatory repod is outside ofthis exception m erely because subsequent

   litigation occurs. In any event,the Coud does notaccord greatweightto the Bolivian

   government's decision to disregard the Three Prosecutors'Repod,as thatdecision

   appears to have been politically m otivated to supportthe popularview thatm em bers of

   DefendantLozada's M ili
                         tary High Com m and should be tried fortheirrole in the events
   ofSeptem berand October2003,despite the recomm endation to the contrary contained

   inthe Three Prosecutors'Repod.See Defendants'Ex.102 (Ltr.from Three Pros.to
   Inter-American Com mission on Human Rightsat524-25).
          Lastly,Plaintiffs are sim ply incorrectthatthe Three Prosecutors'Repod fails to

   explain the evidentiary basis forits conclusions orthe investigative efforts involved in

   the production ofthe Repod.The Reportdescribes how its conclusions are the product


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   of,interalia,field work performed atover17 Iocations,w itness interviews,the collection

   ofphysicalevidence and w ritten statem ents,and ballistics analyses. Defendants'Ex.

   11 (Three Prosecutors'Rep.at468-473). ln sum,the Coud findsthatthe Three
   Prosecutors'Repod fallsunderthe Rule 803(8)(A)(iii)exception and thatPlaintiffshave
   failed to m eettheirburden ofshow ing thati
                                             tis nottrustwodhy. Notonly do Plaintiffs fail

   to offerany valid reasons as to why the Three Prosecutors'Repod is untrustwodhy,but

   the factthatthe prosecutors affirmed theirfindings,evenaftertheywere subjectto 'all
   mannerofintim idation,threats,insults,and attackson (their)digni
                                                                  tyand Itheir)lives'
                                                                                    'for
   ''faillinglto presentthe conclusionsthatwould have been politicallyexpedientforthe
   governm ent,''suggests thatthe Reportis the productofan im partialinvestigation and

   sufficientlytrustwodhy. Defendants'Ex.102 (Ltr.from Three Pros.to Inter-American
   Commissionon Human Rightsat252-256).
                B.     M ilitarv and otherBolivian Governm entRepods

         Defendants also rely extensively on m ilitary and otherBolivian governm ent

   repods. See Defendants'Ex.15 (Police Intelligence Rep.),
                                                          'Defendants'Ex.32 (Social
   ConflictField Diaryl;Defendants'Ex.33 (Military lntelligence Rep.);Defendants'Ex.35
   (Police Rep.). Plainti#sargue thatthese documentsare hearsayand maynotbe
   considered. CSMF 1145. Defendants assed thatthe documents are admissible under
   eitherthe Rule 80346)businessrecordsexception,the Rule 80348)publicrecords
   exception,orthe Rule 807 residualexception. Reply SMF 111145,83,120.As
   discussed below,the Coud findsthatthesé military and police repodsare hearsayand
   are notadm issible underthe exceptions listed in eitherRule 803 or807.




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          First,Defendants hal
                             f-headed argum entthatthe m ili
                                                           tary repods- Defendants'

   Exhibits32 and 33- are admissible underthe Rule 803(6)businessrecordsexception
   warrants little discussion. Rule 803(6)permits the introduction ofcedain business
   records ifkeptin the course ofa regularly conducted business activity and ifitwas the

   regularpractice ofthatbusiness activityto make the record. Fed.R.Evid.80346). But
   Rule 803(6)requires thata properfoundation be Iaid forthe adm ission ofbusiness
   records. See Fed.R.Evid.803(6)(D)'
                                    ,United Statesv.Garnett,122 F.3d 1016,1018-
   19 (11th Cir.1997)(percuriam)(''Fed.R.Evid.80346)requiresthe testimonyofa
   custodian orotherqualified witness who can explain the record-keeping procedure

   utilized.''). Defendantshave notsubmitted the affidavitof'da custodian orotherqualified
   witness''and there is no indication they can offerany such testim ony attriaI.27 Thus,

   the militaryand police repods are admissible,ifatall,only underthe Rule 80348)public
   records exceptions28orthe Rule 807 residualexception            .




          As noted above,underRule 803(8),a record orstatementofa public office is not
   excluded as hearsay ifitsets outeither''a m atterobserved while undera Iegalduty to

   repod'
        'or'factualfindings from a Iegally authorized investigation''and the opponent
   does notshow thatthe record orstatem ent,orothercircum stances,indicate a lack of

   trustworthiness. In contrastwith the Three Prosecutors'Reportdiscussed above,none

   ofthe m ilital and police repods relied upon by Defendants appearto setout''factual


          27Even assuming a properfoundati   on had been Iaid, the m ilitary and otherBoli
                                                                                         vian government
   reportswould stillbe inadmissible underthe business records exception because,asdiscussed below,
   Pl  aintiffs haveshownthattherepodsarenottrustworthy.See Fed.R.Evid.803(6)(E).
              28TheRule803(8)publicrecordsexcepti
                                                on doesnotrequirefoundati
                                                                        onaltestimonyasa
   predicateforadmission.SeeUnitedStatesv.Lovol   a-Dominauez,125 F.3d 1315,1318(9th Cir.1997)
   (''(T)hepublicrecordsexceptionisoneofthefew hearsayexceptionsthatdoesnotrequire afoundation.
   Instead,documentsthatfallunderthe public records exception are presumed trustworthy,placing the
   burdenofestablishing untrustworthinessontheopponentofthe evidence.'(internalquotationmarks
   omittedl).
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   findings from a Iegally authorized investigation''as required foradm issibility underRule

   803(8)(A)(iii). Defendantsargue,however,thatthe authors ofthese reportswere Iegally
   bound to reportthe matters described therein,and thatthe reports are therefore

   admissible underRule 803(8)(A)(ii). Buteven assuming the existence ofa legaldutyto
   repod,to fallunderRule 803(8),the matters observed while underthatIegalduty must
   be ''dbased upon the knowledge orobservations ofthe preparerofthe repod,'as

   opposed to a mere collection ofstatem ents from a witness.'' United Techs.Corp.v.

   Mazer,556 F.3d 1260,1278 (11th Cir.2009)(quoting Millerv.Field,35 F.3d 1088,
   1091 (6thCir.1994)). 'In otherwords,placing otherwise inadmissible hearsay
   statements by third-parties into a governm entreportdoes notm ake the statem ents

   admissible.''ld.(brackets and internalquotation marksomitted). Notably,even ifthe
   m ilitary and police reports do not'explicitly paraphrase the words ofothers,''they can

   be hearsay if''the only conceivable explanation'
                                                  'forhow the inform ation was obtained

   was by 'Iistening to the statem ents ofothers.' United States v.Ransfer,749 F.3d 914,

   925 (11thCir.2014)(quoting United Statesv.Baker,432 F.3d 1189,1206 (11th Cir.
   2005)).
         The m ilitary and police reports offered by Defendants do notfallunderthe Rule

   80348)publicrecordsexception because there isno indication thatthe events described
   in these repods are based on the personalobservations ofthe preparers ofthe repods,

   rather,d'the only conceivable explanation''forhow the inform ation w as obtained was by

   listening to the hearsay statem ents ofthird-padies. See id. Stading w ith the Police

   lntelligence Repod (Defendants'Ex.15),the eventsdescribed in this repod are m ilitary
   encounters with civilians on October12,2003,and there is no indication thatthe police,


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   m uch Iess the preparerofthe repod,were presentto personally observe the
   encounters. Rather,the reportrepeatedly and expressly conveys w hathas been

   repoded bythird-padies.See Defendants'Ex.15 (Police lntelligence Rep.at797)
   (''(R)ightnow,clashesare being reported.''l'
                                              ,id.at806 (stating thataftersoldiers
   intervened inan incident,''lolne person was reported injured asa resultnl;id.at807
   (Stating thata m ilitarycontingent''continuels)to be attacked wi
                                                                  thdynamite and gunfire,
   allegedlyfrom Mauserrifles.nl;id.at821(Stating that'dltlhere are repodedlyfourpeople
   . . .   who have beenwounded as a resultofaIlthe clashes.n).
             The otherpolice repod relied upon by Defendants (Defendants'Ex.35)fares no
   better. Like the Police Intelligence Report,itis clearly based noton the preparer's
   personalobservations,buton the hearsay statem ents ofothers. ltalso describes an

   encounterbetween the m ilitary- notthe police- and civilians,and is expressly based

   upon the statementsofthird-padywitnesses. See Defendants'Ex.35 (Police Rep.at
   9747)(notingthatthe repod is based inpad on 1'a statementmade by Mr.Agustin Sirpa
   Odiz,(witnessl,'that'itwas repoded that...Captain Belmonte declared ...,''and
   noting the existence ofstatementsfrom five additionalwitnesses).
             Finally,the m ilitary reports Defendants'Exhibit32 (SocialConflictField Diary)
   and Defendants'Exhibit33 (Militarylntelligence Rep.l--do notfallunderthe Rule
   803(8)publicrecordsexception either.The ''SocialConflictField Diary''describes in
   detail- overthe course ofapproxim ately forty pages- m ili
                                                            tary operations from

   Septem ber11,2003 to October21,2003 in a m ultitude ofdifferentIocations in Bolivia,

   yetitis only signed by one person:BrigadierGeneralM iguelAngelVidaurre Noriega.

   See Defendants'Ex.32 (SocialConflictField Diaryat5354). Itis unclearwhether


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   BrigadierGeneralNoriega is the sole preparerofthe SocialConflictField Diary,but

   regardless,the observations contained therein could notconceivably have been

   obtained withoutthe statem ents ofthird-padies who were actually on the ground in the

   numerousencountersdescribed.Sim ilarly,the Military Intelligence Report(Defendants'
   Ex.33)is onlysigned byone person and describesa numberofclashes in different
   areas ofBolivia in October2003. There is no attribution as to the source ofany ofthe

   inform ation described in the M ilitary Intelligence Repod,butagain,itis safe to say that

   the this inform ation is notbased on the knowledge orobservations ofthe preparerofthe

   repod.
          As indicated above,Defendants argue thati
                                                  fthe Courtrefuses to adm itthe

   militaryand police reportsunderRules803(6)or803(8),the Coud should adm i
                                                                          tthese
   exhibits underthe Rule 807 residualexception. Rule 807 provides that,even i
                                                                             fa

   statementfails to fallunderan exception in Rule 803 or804,itis notexcluded by the

   rule againsthearsay if:

          (1)the statementhasequivalentcircumstantialguaranteesof
          trustworthiness;

          (2)itis offered asevidence ofa materialfact;
          (3)itismore probative on the pointforwhich itisofered than any other
          evidence thatthe proponentcan obtain through reasonable efforts;and

          (4)admitting itwillbestserve the purposes ofthese rules and the interests
          ofjustice.
    Fed.R.Evid.807(a).''Congressintended the residualhearsayexceptionto be used
    very rarely,and only in exceptionalcircum stances,and itapplies only when cedain

    exceptionalguarantees oftrustworthiness existand when high degrees of

    probativenessand necessityare present.''United Techs.,556 F.3d at1279(brackets,

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   citations,and internalquotation marksomitted).The Courtcannotfind thatd
                                                                         'equivalent
   circumstantialguarantees oftrustworthiness''existwith respectto the m ilitary and police

   reports. Defendants argue thatthe m ilitary repods bear''reliability indicia'
                                                                               'because they

   ''are signed bytheirauthorsand bearthe sealofthe Bolivianm ilitary.''Reply SMF 1145.
   Butthatis farfrom enough forthe Courtto find that''exceptionalguarantees of

   trustworthiness exist'w ith respectto repods prepared by the m ilitary concerning highly

   controversialand highly publicized clashes between the m ili
                                                              tary and civilians that

   resulted in num erous civilian deaths and Ied to crim inalcharges in Bolivia againstm any

   formerm ilitary omcers. The same is true with respectto the police repods. W hile

   Defendants argue that''
                         the police o#icers had no incentive to provide false inform ation,'

   id.$ 83,thefactremainsthatthe police repodsconcernan exceptionallyfraughttime in
   Bolivia with respectto relations between the governmentand i
                                                              ts citizens in general.

   Moreover,m uch ofthe inform ation in the police repods appears to have originated from

   the m ilitary.
          Finally,Defendants argue thatifthe Coud refuses to adm itthe m ilitary and police

   records undera hearsay exception,itshould considerthese repods forthe non-hearsay

   purpose ofthe effectthey had on DefendantLozada and his decision to orderm ilitary

   involvementin Septemberand October2003.ReplySMF1145.The Courtagreesthat
   this is a potentially propernon-hearsay purpose foradm ission ofthe m ilitary and police

   reports. Butatleastatthe summaryjudgmentstage,the Courtcannotconsiderthe
   m ilitary and police repods forthis purpose because there is no evidence in the record

   showing thatDefendantLozada specifically relied upon any ofthe m ilitary and police




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   repods being offered by Defendants priorto m aking any ofthe decisions atissue in

   these cases.

                  C.   U.S.State Denartm entCables

         Plaintiffsobjectto Defendants'reliance onfive U.S.State Depadmentcables
   (Defendants'Exs.1-5)and arguethatthe cablesare hearsay.CSMF 1138. Defendants
   counterthatthe cablesare admissible undereitherthe Rule 803(6)business records
   exception,the Rule 80348)public records exception,orthe Rule 807 residualexception.
   Reply SMF$ 38. Formany ofthe same reasonsdiscussed above in connectionwi
                                                                          th
   the Bolivian m ilitary and police repods,the Coud finds thatthe State Depadm entcables

   are hearsay and are notadm issible underthe exceptions listed in Rules 803 or807.

         Starting with the business records exception,Defendants have failed to lay a

   foundation foradmissionofthe State Depadmentcables underRule 80346). See
   SectionV.B.,supra.The cables also do notfallunderthe Rule 803(8)public records
   exception because,Iike the police and m ilitary repods,they are clearly based noton the

   preparer's personalobservations,buton the statements ofothers. Forinstance,with

   respectto the shootings in W arisata in Septem ber2003,the cables do notappearto

   relay whatan embassy officialactually observed on the ground,butthey sim ply report

   the Bolivian m ilitary's position- thatthe m ilitary convoy was am bushed- and then note

   thatthe ''Campesinoversion isthatthe securityforcesfireld)firstatIlabaya,outside
   W arisata ....''Defendants Ex.1 (State DepadmentCable at27). Manyofthe cables
   are also based on m edia repods,which are obviously them selves hearsay. See.e.a.,

   Defendants Ex.2 (State DepadmentCable at32-34).W hile the Coud does notrule out
   the possibility thatsom e portions ofthe State Depadm entcables are based on the


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   observationsofthe (unidenti
                             fied)preparer,29these statementsare immaterialto the
   Court's analysis and are substantially duplicative ofotherevidence thatthe Courthas

   considered,including,interalia,the Three Prosecutors'Report.

          Finally,the statem ents contained in the State Depadm entcables m ay notbe

   adm itted underthe Rule 807 residualexception,albeitfora differentreason than the

   Bolivian m ilitary and police records failto qualify foradm ission underRule 807.

   Speci
       fically,the Courtfinds thatw hile the cables do bearexceptionalguarantees of

   trustwodhiness,they stillm ay notbe adm itted underthe residualexception because

   they are not''more probative on the pointforwhich Itheyareloffered thananyother
   evidence thatthe IDefendants)can obtainthrough reasonable effods.' Fed.R.Evid.
   807(a)(3).W ith respectto trustwodhiness,the Coud finds itsufficientthatthe cables
   are signed by the then-u.s.Am bassadorto Bolivia and identified as Departmentof

   State materials,as the Coud agrees with Defendants thatthe State Depadm enthad no

   incentive to do anything butrepod the situation in Bolivia fairly and accurately.

          However,as noted above,Rule 807 stillrequires that,in addition to a show ing of

   trustworthiness,the proponentshow thatthe documentoffered is m ore probative than

   any otherevidence on the pointforwhich itis offered than the proponentcan obtain

   through reasonable efforts. Defendants only argue thatthis is true with respectto the

   State Depadmentcables 'because the U.S.governm entdenied Defendants'requestto

   depose the Ambassador.''ReplySMF 1138.ButDefendants'inabilityto depose the
   Am bassadordoes notpreclude Defendants from attem pting to obtain otherevidence

   concerning the events described in the State Depadmentcables,and indeed,


           29such as1 forinstance, information regarding the impacton La Paz ofthe October2003
   protests.
                                                   37
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   Defendants have done so in m any cases. M oreover,Defendants have failed to show

   an inability to reasonably obtain otherevidence with respectto any specific pointfor

   w hich they offera State Depadm entcable,though the Courtdoes notrule outthe

   possibility thatDefendants m ay be able to make such a showing attrial.

                D.     Havden's Renort

         The Courtbriefly notes thatDefendants have m oved to exclude the testimony of

   a num berofPlaintiffs'experts,including,m ostrelevantto the instantM otion,Phillip P.

   Hayden. See DE 337. M r.Hayden reviewed ballistics evidence ofthe shootings at
   issue in these cases,conducted w itness intewiews and site visits,and opines thatthe

   decedents in these cases were intentionally shotand killed by m em bers ofthe Bolivian

   mili
      tary. See DE 337-4 (ReportofPhillip P.Hayden). Defendantscontend thatMr.
   Hayden's testim ony is inadm issible,and even ifitwere adm issible,it''cannotalone

   defeatsummaryjudgmenta''DE 342-1 at23.The Courtwilladdress Defendants'
   m otion to exclude M r.Hayden's testim ony in a separate order,because as explained

   below ,Plaintiffs have putforth sufficientevidence to raise genuine disputes ofm aterial

   facteven withoutconsideration ofMr.Hayden's testimony.

       VI.      DISCUSSION
         The Courtwillnow address the meritsofDefendants'summaryjudgmentMotion.
   As noted above,Defendants m ake fourmain challenges to Plainti
                                                                ffs'claim s. First,

   Defendantsassed that,based onthe evidence inthe record,a reasonable jurycould
   notconclude thatany ofthe eightdecedents'deaths m eetthe TVPA'S definition ofan

   extrajudicialkilling. Second,Defendantssaythatthere is no evidence by which they
   could be held indirectly Iiable fordecedents'deaths. Third,Defendants raise an
   assortmentofchallenges to the Iegalviability ofPlainti
                                                        ffs'w rongfuldeath claim s. And
                                              38
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   foudh,Defendantsassedthatthe claims ofPlaintiffs Sonia Espejo Villalobosand
   Gonzalo Mam aniAguilarcontain various deficiencies. The Courtw illconsidereach

   pointin turn.

                    A.      ExtraiudicialKillincs
                         1. LegalPrincipals

           The TVPA provides:
           An individualwho,underactualorapparentauthority,orcolorofforeign nation ..
           .   subjects an individualto extrajudicialkilling shall,ina civilaction,be liable for
           damages to the individual's legalrepresentative,orto any person who m ay be a
           claim antin an action forwrongfuldeath.

   TVPA j 2(a)(2). The statute goeson to define the term ''extrajudicialkilling'
                                                                               'to mean 'a
   deliberated killing notauthorized by a previousjudgmentpronounced by a regularly
   constituted courtaffording aIIthejudicialguaranteeswhich are recognized as
    indispensable by civilized peoples.'' Id.j 3(a).Excluded from the statute's coverage is
   ''any such killing that,underinternationalIaw,is IaM ully carried outunderthe authori
                                                                                       ty

   ofa foreign nation.' Id.
           A deliberated killing,the Eleventh Circuitexplained in M am ani111,is one thatis
    'undertaken with studied consideration and purpose.'' 654 F.3d at1155.30 Liability

    does notattach,however,ifthe deaths ''could plausibl
                                                       y have been the resultof

    precipitate shootings during an ongoing civiluprising.'' Id. Nordoes Iiability existifthe

    deaths''are compatible with accidentalornegligentshooting (including mistakenly


           30Althoughthe EleventhCircuitinMamaniI1Iwasconsidering Plainti     ffs'extrajudicialkilling claims
    undertheATS,thecourtlooked to theTVPA desnitionforguidance.654 F.3d 1148,1154 (11thCir
    2011).W hil
              e extrajudicialkillings'areactionable underthe TVPA ifthe killingfallswi thinthestatutory
    definition,and underthe ATS i
                                fcomm itted inviolation ofthe Iaw ofnations,''the Eleventh Circuit
    'assumeldl'forpurposesofitsdecision'thatanextrajudi  cialkillingfallingwithinthe statutorydesnitionof
    theTVPA wouldalso Iikelyviol
                               ateestablished internationalIaw.' Id.at1154n.7(internalquotationmarks
    omitted).Thecoud noted,though,that'thismaynotbetrue underaIIcircumstances.' Id.
                                                      39
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   identifying a targetas a person who did pose a threatto others),individualmotivations
   (personalreasons)notIinked to defendants,and so on.''Id.
                    2. Application

         W ith the principles setoutabove in view ,the Coud now considers whethera

   reasonablejurycould conclude thatdecedentswere victimsofextrajudicialkillings,as
   thatterm is defined by the TVPA. Defendants argue thatthe record evidence does not

   suppod a finding thateach ofthe deaths atissue here were deliberated because there

   is no evidence ofthe specific individualwho shoteach decedent,m uch less evidence

   concerning the shooter's intent. Defendants also contend thatTVPA Iiability does not

   attach because each shooting is com patible with an accidentalornegligentshooting.

   Plaintiffs dispute thatevidence identifying the shooterand his state ofm ind is required,

   and assed thatthe deliberated nature ofeach killing is shown by the evidence thatthe

   deaths atissue resulted from im plementation ofDefendants'plan to use m ilitaryforce to

   killcivilians. Plainti#s also say thatthe circum stances ofeach death atIeastraise a

   genuine dispute aboutwhethereach killing was intentional,as opposed to accidentalor

   negligent.
         The Courtconcludes thatPlainti#s have presented sumcientevidence to raise a

   juryquestion asto whetherdecedents'deathswere extrajudicialkillings underthe
   TVPA. First,a reasonablejury,consideringthe evidence ofDefendants'planto kill
   civilians to quash public opposition to theirpolicies,could find thatdecedents'deaths

   were deliberated because they were the expected and desired outcom e ofthis plan.

   Given the totality ofthe evidence in this case,this is not,as Defendants contend,a

   speculative inference. Rather,itis a reasonable inference thatcan be drawn from the


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   evidence of:(1)changes in Bolivian mili
                                         tarydoctrine during DefendantLozada's
   adm inistration to define protesters as subversives w ho could be targeted with m ilitary

   force'
        ,(2)a patternofsoldiers being ordered to shootunarmed civilians in multiple
   differentIocations,including each Iocation where decedents were killed,on m ultiple

   di#erentdates;(3)a patternofsoldiersshooting indiscriminatelyatciviliansattimes
   w hen witnesses saw no arm ed protesters oranything indicating thatthe soldiers were

   firingdefensively;(4)Defendants'repeated refusalto seriouslycommitto achi
                                                                           eving
   peaceful,negotiated solutionsto protests'
                                           ,and (5)consistentwith Defendants'plan,the
   utilization oftroops from eastern Bolivia. From this evidence,the Coud m ust,atthe

   summaryjudgmentstage,draw aIIreasonable inferences inthe lightmostfavorable to
   Plaintiffs.And in so doing,the Courtfinds thatthere is a genuine dispute as to whether

   the deaths atissue here resulted from the im plem entation ofDefendants'plan.

         The Coud is satisfied thata showing thatdecedents'deaths resulted from
   im plem entation ofDefendants'plan is sufficientto show thatthese were deliberated

   killings underthe TVPA. Plaintiffs need not,as Defendants argue,identify the specific

   soldierwho fired each Iethalshotand introduce evidence regarding whatthatsoldier

   was ''doing,seeing,hearing,...processing,''orthinking atthe tim e ofthe shooting.
   See DE 342-1 at18. As Plaintiffs note,superiorofficers are consistently held liable

   underthe TVPA forthe acts oftheirsubordinates,whetherthe subordinates can be

   identified ornot.See,e.o.,Hilao v.Estate ofMarcos,103 F.3d 767,776-79 (9th Cir.
   1996)*
        ,Tachiona v.Muoabe,234 F.Supp.2d401,420-23 (S.D.N.Y.2002),afrd in part
   & rev'd in nad on othercrounds sub nom .Tachionav.United States,386 F.3d 205 (2d



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   Cir.2004)*
            ,Mushikiwabo v.Baravacwiza,1996W L 164496 (S.D.N.Y.Apr.9,1996).
                                                                          ,
   Xuncaxv.Gramaio,886 F.Supp.162,172-73 (D.Mass.1995).
          To be sure,Plaintiffs m ustshow thatdecedents were intentionally killed by the

   Bolivian m ili
                tary. Butthatintentneed notnecessarily be shown w ith evidence regarding

   each individualshooter's state ofm ind. Rather,itcan be inferred by proofthat

   decedents'deaths resulted from the im plem entation ofDefendants'plan to use m ilitary

   force to killunarm ed civilians. This approach is consistentw ith cases recognizing that

   individualized targeting is notrequired to m ake outa claim underthe TVPA'S definition

   ofextrajudicialkilling.See,e.n.,Owens v.ReDublic ofSudan,864 F.3d 751,770 (D.C.
   Cir.2017)(holding thatstate-sponsored terroristbombings 'd
                                                            were deliberated in that
   they involved substantialpreparation,m eticulous tim ing,and coordination across

   multiplescountriesnl;Flanaaanv.IslamicReDublicofIran,190 F.Supp.3d 138,163
   (D.D.C.2016)(state-sponsored terroristbombingswere deliberateddue to the
   ''coordination and planning required to carrythem out''
                                                         ),
                                                          'Jaramillo v.Naranio,2014 W L
   4898210,at*13 (S.D.Fla.Sept.14,2014)(evidence thatdefendant's paramilitarygroup
   targeted m em bers ofa particularpoliticalgroup sum cientso long as decedentwas a

   memberofthatgroup).31
          Having found the existence ofa genuine dispute regarding whetherthe deaths at

   issue here wère deliberated,the Coud turnsnexttowhetherPlaintiffs have presented
   sufficientevidence to raisejury questions asto2(1)whetherdecedentswere killed by a
   memberofthe Bolivian military;and (2)whetherthe killingswere incompatiblewi
                                                                             th

          31Owens v. Renubl
                          icofSudan,864 F.3d751(D.C.Cir.2017),and Flanaaanv.Islami
                                                                                 c Reoublic
   ofIran,190 F.Supp.3d 138(D.D.C.2016),weredecided underthe ForeignSovereignImmunitiesAct
   (FSIA),whichwaivesaforeign states'immunityfrom suitincasesseekingmoneydamages''againsta
   foreignstateforpersonalinjuryordeaththatwascaused by'interalia'extrajudicialkilling.''28U.S.C.j
   1605A(a)(1).TheFSIA utilizesthe TVPA'Sdefinitionsofextrajudicialkilling.See id.j 1605A(h)(7).
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   accidentalornegligentshootings,''precipitate shootings during an ongoing civil

   uprising,''and Shootings based on ''individualm otivations ...notIinked to defendants.''

   M am ani111,654 F.3d at1155. The Coud finds thatPlaintils'evidence concerning the

   circum stances ofdecedents'deaths and the actions oftroops in each Iocation atthe

   tim e ofthe deaths is sufficientto create a genuine dispute on these issues.

         As an initialmatter,the Coud rejects Defendants'contention that''Plaintiffs'
   inabilityto produce sumcientevidence to show thatonly militaryin the area (where
   decedentswere killed)were shooting should end the inquiry.''DE 342-1at18. ln order
   forPlaintiffs to show thatdecedents were intentionally killed by the m ilitary,Plainti#s

   need notnecessarily show thatonly the m ilitary was shooting in the areas where

   decedents were killed. Even though there is evidence in this case that,in cedain ofthe

   areasw here decedents were killed,there was an isolated shotatthe m ilitary or,in other

   locations,a m ore substantialclash between the m ilitary and arm ed protesters,this does

   notforeclose ajuryfrom reasonablyfinding thatdecedentswere intentionally killed by
   the m ilitary- as opposed to by an arm ed protester,a m em berofthe m ilitary w ho

   believed he was shooting atan arm ed protester,ora m em berofthe m ilitary who was

   shooting atan arm ed protesterbutaccidentally ornegligently struck one ofthe

   decedents.A jurycould reasonably make thisdetermination byweighing the evidence
   of,on the one hand,the proxim ity ofdecedents'deaths to any arm ed conflictand the

   nature ofsam e and,on the otherhand,the evidence ofthe Iocation and actions of

   troops inrelationto where decedentswere shot. Forinstance,ajurycould reasonably
   find,by a preponderance ofthe evidence,thata decedentwas intentionally killed by the

   m ilitary notwithstanding evidence showing an isolated shotatthe m ilitary a significant


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   distance away from the killing and atan earlierpointin tim e- because ofevidence that

   troops were ordered to shoot,and did shoot,indiscrim inately atcivilians in the

   im mediate vicinity ofthe decedentatthe tim e ofhis orherdeath and an absence of

   evidence ofarm ed protesters in the area.

         Sufficientevidence to m ake such a finding existsw ith respectto each decedent.

   Forinstance,while there is evidence thatthe m ilitary convoy in W arisata w as fired upon

   from the hills on Septem ber20,2003,there is also evidence thattroops indiscrim inately

   shotatcivilians,into houses,and atwindows in this area w hen they were no Ionger

   facing any armed opposition.A jurycould certainlyconsiderthis evidence,the evidence
   ofthe distance between DecedentM arlene M am ani's hom e and the Iocation ofthe

   earlierclash between the m ilitary and arm ed protesters,and the evidence oftroop

   movementoutside ofDecedentM arlene M am ani's hom e atthe tim e ofherdeath,and

   reasonably conclude thatshe was intentionally killed by the Bolivian m ilitary while

   looking outthe window ofherhome.

         Sim ilarly,w i
                      th respectto the decedents killed in EIAlto on October12,2003,
   while there is som e evidence ofviolentacts com m itted by protesters on this day,there

   is also evidence thattroops indiscrim inately shotatunarmed civilians- and were not

   being fired upon by arm ed protesters when doing so- in the locations where Decedent

   Ayala,DecedentTeodosia Mam ani,DecedentLucero,and DecedentCutipa were killed.

   Additionally,forDecedentAyala,ajury couldalso find thathe wasintentionally killed by
   the m ilitary based on the evidence thata w itness saw a m an dressed sim ilarto
   DecedentAyala shotnearseveralsoldiers 32 And al
                                               .
                                                 though DecedentTeodosia


          32Any discrepanci
                          es in appearance between DecedentAyala and the man who waswitnessed
   being shotmayimpacthow thejuryweighsthisevi
                                             dence,butdonotimpacttheCoud'sdetermination
                                               44
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   Mamaniwasshotthroughthe wallofherhome,ajurycould stillfind thatthiswasnotan
   accidentalornegligentshooting because itresulted from the im plementation of

   Defendants'plan to killcivilians.There is evidence thatthis plan was im plem ented by

   soldiers shooting indiscrim inately in afeas with high concentrations ofcivilians,and a

   jurycould reasonably findthatthe deathofa civilian dueto a shotfired through the wall
   ofa hom e was the expected and desired outcom e ofthis plan.
          Finally,there is also su#icientevidence thatthe decedents killed on October13,

   2003 in the Southern Zone ofLa Paz- DecedentArturo Mam ani,DecedentRoque,and

   DecedentMérquez- were intentionally killed by the Bolivian m ilitary. PlaintiffGonzalo

   M am aniAguilarwas presentatthe Iocation where his father,DecedentArturo M am ani,

   and DecedentRoque were shot. M r.Mam aniAguilartestified thatthe m ilitary was firing
   towards him and shooting in differentdirections when DecedentArturo M am aniand

   DecedentRoque were shotand killed.W hile Defendants have subm itted evidence that

   a soldierwas shoton October13 in a differentIocation,there is no evidence thatthere

   were armed protesters in the location where DecedentArturo M am aniand Decedent

    Roque were atthe tim e they were shot. The same is true with respectto the shooting of

    DecedentMérquez in Ovejuyo on October13. Defendants'evidence ofviolence in
   otherlocations on this day does notcreate a genuine dispute thatsoldiers were

    indiscriminatelyshooting atunarmed civiliansin Ovejuyo.Moreover,an eyewitness
    places severalsoldiers- shooting ''in alIdirections'
                                                       '- in the im mediate vicinity of

    DecedentM ârquez when he was shot,and Defendants have introduced no evidence of

    armed protesters inOvejuyo atthistime.
    thatPlaintiffshave showntheexistenceofagenuine di spute.SeeAnderson,477 U.S.at249($
                                                                                      i(A)t
    the summaryjudgmentstagethejudge'sfunctionisnothimselftoweightheevidenceand determinethe
    truthofthematterbutto determine whetherthere isagenuine issuefortriaI.').
                                                   45
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          In sum ,based on the evidence regarding the facts and circum stances ofeach

   shooting,ajurycould reasonably conclude thateach decedentwaskilled by a member
   ofthe Bolivian m ili
                      tary and thatthe shootings were notaccidentalornegligent,

   ''precipitate shootings during an ongoing civiluprising,''orshootings based on

   ''individualm otivations ...notlinked to defendants.' M am ani111,654 F.3d at1155.

                B.      Defendants'Secondarv Liabilitv

          Itis firm ly established thatthe -I-VPA ''contem plates Iiability againsto#icers who

   do notpersonally execute the torture orextrajudicialkilling.' Mohamad v.Palestinian
   Auth.,566 U.S.449,458 (2012).
                               ,see also Doe v.Drummond Co.,782 F.3d 576,607
   (11th Cir.2015)(''(S)ince domesticIaw setsthe standards forthe TVPA,secondaryor
   indirecttheories ofliability recognized by U.S.Iaw are available forclaim s broughtunder

   theTVPA.''),ced.denied,136 S.Ct.1168 (2016). Plaintiffsseekto hold Defendants
   indirectly liable fordecedents'deaths on three grounds. Plaintiffs focus,firstand

   forem ost,on the doctrine ofcom m and responsibility. Plainti
                                                               #s also invoke,butplace

   m inimalreliance on,theories ofagency and conspiracy.

                     1. Comm and Responsibility

          The TVPA perm its suits ''againstcom m anders underthe internationalIaw

   doctrine ofcom m and responsibility.''Ford ex rel.Estate ofFord v.Garcia,289 F.3d

   1283,1286 (11th Cir.2002).Thatdoctrine ''makes a commanderIiable foractsofhis
   subordinates,even where the com m anderdid notorderthose acts,w hen certain

   elementsare met.''% There arethree essentialelements ofcommand responsibility
   liabiIi :

          (1)the existence ofa superior-subordinate relationship betweenthe
          commanderandthe perpetratorofthe crime'    ,(2)thatthe commander

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          knew orshould have known,owing to the circum stances atthe time,that
          his subordinates had com m itted,were com m itting,orplanned to com m it
          actsviolative ofthe Iaw ofwar'
                                       ,and (3)thatthe commanderfailed to
          preventthe com m ission ofthe crim es,orfailed to punish the subordinates
          afterthe com m ission ofthe crim es.

   Id.at1288.33 Defendants'motion forsummaryjudgmentfocuses onlyon the first
   elem ent.34

          To establish a superior-subordinate relationship,Plaintils m ustdem onstrate ''that

   Defendants had 'effective control'overthe Bolivian soldiers''w ho killed decedents.

   MamanilV,21F.Supp.3d at1376 (quoting Fo-rd,289 F.3d at1291). The Eleventh
   Circuithasexplained that''Itlhe conceptofeffective controlovera subordinate Iis)the
   sense ofa materialability to preventorpunish crim inalconduct,howeverthatcontrolis



          33The El
                 eventh Circuithasyetto addresswhetherthe command responsibility doctrine includes
   an elementofproximate causation. See Ford ex rel.Estate ofFord v.Garcia,289 F.3d 1283,1293-94
   (11thCir.2002).Atleasttwocoudsofappealsandonejudgeofthe EleventhCircuithave concludedthat
   ashowing ofproximatecausationisnotrequired. Seeid.at1298-99 (Barkett,J.,concurringl;Chavezv.
   Carranza,559F.3d486,499(6thCir.2009).   ,Hilaov.EstateofMarcos,103 F.2d767,774,776-79 (9th
   Cir.1996). Defendantsdidnotraisetheissue intheirmotionforsummaryjudgment,and sothe Court
   need notaddressitatthisjuncture.
          34Defendantsalsobriefly raise twogeneralobjectionstoappli
                                                                  cationofthecommand
   responsibility doctrine. 80th Iack merit.
          FirstîDefendants assertthatthe command responsibility doctrine does notapply to civilian
   Ieadersoutside ofan armed conflictasdefined byinternationalIaw. SeeDE 342-1at26 n.6 (citing
   GuénaëlMettraux,The Law ofCommand Responsibilitv97 (2009)('Mettraux'' )).TheEleventhCircuit
   hasrejectedthisargument.See Doe v.Drummond Co.,782 F.3d576,610(11thCir.2015)(holding,in
   the contextofa non-wartime case,that'a civilian superior- including a civilian corporate officer- could
   feasibly beheld Iiable'
                         'underthecommand responsibili
                                                     tydoctrine),certdenied,136 S.Ct.1168(2016)*   ,
   seealso MamaniIV,21F.Supp.3d 1353,1376 (S.D.Fl     a.2014)(Concludingthatthecommand
   responsibilitydoctrine'appli
                              esnotonlyin'wartimer'butalsoin'peacetime.'''(quoting Hilao,103 F.3dat
   777)).,Doe Iv.Qi,349 F.Supp.2d 1258,1330-31(N.D.Cal.2004)(ObservingthattheTVPA'Stext'does
   notIimititsapplicabilityto acts ofm ilitaryofficialsorthe contextofwar,''and its Iegislative history
   'implicitlyendorsedtheapplicationofcommand responsibilitytoactsoftorture andextrajudicialkillings
   whethercommi   ttedbymilitaryorcivilianforcesan).
           Second Defendants say thatthe comm and responsibilitydoctrine recognizesa more stringent
   knowledge requl:rementformilitary commandersthan itdoes fortheircivilian counterparts. Itis indeed so
   thatthe Rome Statute ofthe Internati
                                      onalCriminalCourt,July 17,1998,2187 U.N.T.S.90,requires proof
   thata mili
            tary commander''knew or,owing to the circumstances atthe time,should have known'    'about
   hissubordinates'crimes,butonlyallowsliabilityforciviliancommanderswho 'knew,orconsciousl
                                                                                          y
   disregarded information whi
                             ch clearly indicatedHthattheirsubordinateswere com mitting crim es. Id.art.
   28(a)(1),(b)(1).The EieventhCircuit'sdecisionin Doe recogni
                                                             zedcommand responsibili
                                                                                   tyIiabilityfor
   ci
    vilianswithoutholding thata separate knowledge standard should existforcivilian comm anders. See
   782 F.3d at609-10. Defendantsdo notattem ptto distinguish Doe.
                                                        47
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   exercised.''Ford,289 F.3d at1290 (quoting Prosecutorv.Delalic (AppealsChamber
   ICTY,Feb.20,2001)11256).'$IA)showing ofthe defendant's actualabilityto controlthe
   guilty troops is required as partofthe plaintiffs burden underthe superior-subordinate

   prong ofcom m and responsibility,whetherthe plainti
                                                     ffattem pts to assertIiability undera

   theoryofde facto ordejure authority.''Id.at1291.35 A defendant's udejure authority..
   .   overthe troopsw ho perpetrated the underlying crim e is prim a facie evidence of

   effective control.''lZ
            Applying these principles,the Coud concludesthata reasonablejury couldfind
   thatDefendants had both dejure and de facto authorityto effectivelycontrolthetroops
   thatare alleged to have shotand killed Plaintiffs'decedents.

                         a.        DefendantLozada

            As President,DefendantLozada w as Captain G eneralofthe A rm ed Forces. The

   Bolivian Constitution ineffectin 2003 provided that''Itlhe Armed Forces are subordinate
   to the Presidentofthe Republic and receive theirorders adm inistratively through the

   M inisterofDefense,and in technicalmatters,from the Com m anderin Chief.''

   Defendants'Ex.10 (BoI.Const.art.210)).The Organic Law vested inthe Presidentthe

            35A dejuresuperior-subordinate rel
                                             ationshipexistsforpurposesofthecommand responsibility
   doctrine when ''
                  the superiorhas been appointed,elected orotherwise assigned to a position ofauthori       ty
   forthepurpose ofcomm anding orleading otherpersons who are thereby to be Iegally considered his
   subordinates.'' Mettraux 139.A formalti  tle orposition ofauthority is insufficientto establish a superior-
   subordinate relationship'
                           ,rather,'any inference concerning the relationship ofsubordination'    'm ustbe
   'accom panied by the powers and authori  ty normally attached to such a role.''Id.at141.A defendantin a
   positionofdejureauthorityexerciseseffectivecontroloverhissubordinateswhenhe'waseffectively
   able to enforce his Iegalauthoritythrough the exerci
                                                      se ofhis Iegalpowers overthe perpetrators.' Id.at
   174.
          A de facto superior-subordinate relationship exists underthe command responsibility doctrine
   when 'one party- the superior- hasacquired overone ormore people enough authorityto preventthem
   from comm itting crimes orto punish them whenthey have done so.'' Id.at142-43. A de facto superi  or
   mustbe (1)'cogni  zantofhispositionvis-à-visotherpersonswhoseconducthe isresponsiblefor,'and
   (2)'awareofthedutieswhi    chhisrelationshipwi
                                                thanotherperson,orgroupofpersons,impliedforhim
   (in particular,adutyto preventandpunishcrimes)and musthave acceptedthisroleand responsibili
                                                                                             ty,
   albei
       timplici
              tly.'' Id.at145.
                                                      48
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   powerto address domesticunrest. See Defendants'Ex.36 (Organic Law art.8).
   O perationalcoordination ofthe m ilitary was accom plished by the Com m anderin Chief,

   an entity defined by the O rganic Law as 'the highestCom m and and Decision-making

   body ofa technical/operating nature,forthe perm anentcoordination and direction ofthe

   Armed Forces.''1i art36.One memberofthatbody- also given the title Commander
   in Chief- received his orders directly from the President. Id.art39.

         According to Defendants,the Bolivian Constitution and the O rganic Law's textual

   com m itments ofpowerto the Presidentwere aIIform butlittle substance. The

   President,Defendants say,could only issue genera/orders. Because the

   operationalization ofthe President's orders could only be achieved by the Com m ander

   in Chief,itfollows(as Defendantswould have it)thatthe PresidentIacked effective
   controloverthe soldiers on the ground during the events atissue in these cases.

         The Courtdisagrees.A reasonablejury could conclude,based on Defendant
   Lozada's legalpowers as Presidentand the m annerin which he exercised those

   powers,thathe had effective controloverthe Arm ed Forces. As detailed above,the

   orders issued by DefendantLozada to the Com m anderin Chief- nam ely,the

   Septem ber20,2003 decree directing the m ilitary into W arisata and Suprem e Decree

   27209 issued on Septem ber11,2003- Ied directly to orders by the Com m anderin

   Chief- specifically,Directive 27/03 on Septem ber20 and Directives 33/03 and 34/03 on

   October12 .thatin turn produced the m ilitary action resulting in the alleged

   extrajudicialkillingsofPlaintiffs'decedents.This actionaligned closelywith
   Defendants'previously-form ulated plan to violently suppress opposition to theirpolitical

   agenda. Thus,especially when considered in connection with the otherevidence in this


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   case suggesting thatDefendants deliberately puttheirplan in m otion once in power,

   including,intera/fa,the changes inmilitary policy relating to civildisobedience (f.e.,the
   d'Manualon Use ofForce'
                         'and the Republic Plan),a reasonable inference can bedrawn
   thatDefendantLozada used his authority as Presidentto directthe Arm ed Forces to

   im plementthe m ilitary operations thatIed to decedents'deaths. And because such an

   inference can m ade with regard to DefendantLozada's orders,itfollows thathe could

   have taken sim ilaractions to preventthe alleged crim inalconduct.

          W hile DefendantLozada's ability to preventthe m ilitary's crim inalconductis
   enough on its own to establish a superior-subordinate relationship,36the Courtis ofthe

   view thatPlaintiffs have also created a genuine dispute ofm aterialfactas to whether

   DefendantLozada had the ability to punish guilty troops. Defendants insistthat''any

   investigation orprosecution ofguilty troops would have occurred through the m ili
                                                                                   tary

   justice process,orin civiliancouds,atthe requestofthe Office ofthe ChiefProsecutor,
   i.e.,the Attorney General,which is independentfrom the executive branch.'' DE 342-1

   at28. ButDefendants cite no Bolivian Iegalsources forthis proposition. Instead,they

   pointto a M ay 2003 reportby the O rganization ofAm erican States and a 2003 U.S.

   State Depadmentreporton human rights practices in Bolivia. See SMF 11184 (citing
   Defendants'Ex.7 (OAS Rep.at90)and Defendants'Ex.16 (U.S.State Dep'tRep.on
   Human RightsPractices- zoo3at3432,3425).Neitherreportsaysanything aboutthe
   President's independence from the Office ofthe ChiefProsecutor. Plaintiffs,on the

   otherhand,note thatDefendantLozada testified in his deposition that,on several



          36The Courtnotes in this regard thatthe Eleventh Circuit'sarticulation ofthe effective control
   standard i
            sphrased inthedisjunctive- effective controlrefersto''
                                                                 thesense ofa materialabili
                                                                                          tyto prevent
   orpunishcriminalconduct.''Ford,289 F.3dat1290 (emphasisadded).
                                                     50
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  occasions in Septem berand October2003,he appointed specialprosecutors to
  investigate reports ofunarm ed civilians being shotby the m ilitary.31

                       b.        DefendantBerzain

         As noted above,underthe Bolivian Constitution in force in 2003,the A rm ed

   Forces''receiveld)theirordersadministrativelythroughthe MinisterofDefense.''
   Defendants'Ex.10 (Bol.Const.ad.210).Additionally,the Organic Law vestedthe
   M inisterofDefense w i
                        th authority to 'dplan,organize,directand supervise CivilDefense

   inthe NationalTerritory.''Defendants'Ex.36 (Organic Law,Adicle 22). Defendants
   describe the M inisterofDefense as Ii
                                       ttle m ore than an adm inistrative figurehead,

   lacking any m eaningfulauthority- legalorothe- ise- to controlm ilitary operations.

          The record evidence tells a differentstory. As detailed above,Defendant

   Berzain played a hands-on role in the planning and im plem entation ofthe events of

   Septem ber20,2003 and October12 and 13,2003. W ith regard to the Septem ber20

   events,itwas DefendantBerzain who- having traveled to Sorata with Defendant

   Lozada'sauthorization- rejected acompromise with community leaders infavorofa
   m ilitary alternative,saying thathe would rem ove the tourists from Sorata 'the good way

   orthe bad way.''Plaintiffs'Ex.N (Garcja Decl.!1:19-10).
                                                         ,Plaintiffs'Ex.RR (Lozada Dep.
   Tr.216:7-18).
               ,Plaintils'Ex.VV (Berzain Dep.Tr.122:11-13). DefendantBerzainthen
   ordered mili
              taryo#icersto Iookforbusdrivers to transpod the tourists. Id.1115. Later,
   as the m ilitary convoy escoded the tourists from Sorata to La Paz,by way ofW arisata,


            31See Plainti
              -         ffs'Ex.RR (Lozada Dep.Tr.265:7-14)(diIQ.)Did youtalkatthatmeetingataIIabout
   thedeathofunarmed civili  ans? A....V hatwewere informed isthatIhad orderedthatthere be
   specialprosecutorsoutsideofthespecialprosecutorsthataccompanythearmedforcesandthe poIice.''),   '
   i
   à at285:1-13('IQ.W lhileyouwere PresidentofBolivia ...didyou receive anyreportsofunarmed
   .
   civiliansshotbytheBolivianmilitary? A.lreceived reportsofcivilianskilled ....X hileIwasPresident
   there was three- atmy request,three specialprosecutors appointed to Iook ataIIthese circumstances ..

                                                   51
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   DefendantBerzainspoke onthe phone with DefendantLozadajustbefore Defendant
   Lozada issued an orderto the acting Com m anderin Chiefofthe Armed Forces

   directing the use of'necessary force''to restore orderin W arisata. See



          And with regard to the events ofOctober12 and 13,DefendantBerzain played a

   key role in organi
                    zing the operation to use the m ilitary to transpod gas from the Senkata

   gas plantto La Paz. O n the evening ofOctober10,DefendantBerzain held a m eeting

   atthe Ministry ofDefense w ith top m ilitary officers and Ieaders from the La Paz Gas

   StationsAssociation.Plainti#s'Ex.O (Loza Decl.!11112-13,15-16). Itwas atthat
   meetingthatDefendantBerzain notonly nodded in responseto- and,ajurycould
   reasonably conclude,approved- a general's proposalto use the m ilitary to transpod

   gasoline,butalsowas presentasthe operationwasplanned.1Z 1122.And the
   following day,Suprem e Decree 27209 directed DefendantBerzain to 'establish the

   mechanismsnecessar/'forthe Armed Forcesto execute its missionto transportgas
   from Senkatato La Paz. Defendants'Ex.6 (Supreme Decree No.27209 at71).
          Although DefendantBerzain's actions are open to som e interpretation,Plainti#s

   have adduced sufficientevidence bywhich a reasonablejurycould conclude that
   DefendantBerzain exercised such controloverthe Bolivian Arm ed Forces thathe was

   complicitinthe extrajudicialkillingsofdecedents.DefendantBerzain's role in planning
   and executing the operations ofSeptem ber20 and October12 and 13 indicate thathe
   could have prevented the actions ofany guilty troops.38



          38There i
                  salsothepotentiaIthata reasonablejurycouldfindthatDefendantBerzainhadthe
   abili
       ty to punish guiltytroops. As MinisterofDefense,he was one ofthe si
                                                                         x Bolivi
                                                                                an authorities involved
   inthe'finalinvestigatoryphase''ofmilitaryjustice matters.Defendants'Ex.38(OrganicLaw art.28).
                                                     52
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                                                           *



          Thata reasonablyjury could hold Defendants Iiable underthe doctrine of
   com m and responsibility willnotresultin 'strictIiability akin to respondeatsuperiorfor

   nationalIeaders atthe top ofthe long chain ofcom m and in a case Iike this one.''

   M am ani111,654 F.3d at1154. Forone thing,the Eleventh Circuitm ade thatobservation

   in the course ofdism issing Plainti
                                     ffs'prjorcom plaintas insumciently pleaded.That

   complaintpresented no plausible allegationstying Defendants (oranyone,forthat
   matter)to decedents'deaths. See K at1155 ('
                                             dplaintiffs have notpleaded facts
   sufficientto show thatanyone--especially these defendants,in theircapacity as high-

   Ievelofficials--comm i
                        tted extrajudicialkillingswithinthe meaning ofestablished
   internationallaw.''). Now,aftera new round ofpleading and nearly a yearofdiscovery,
   Plainti#s have adduced evidence showing that---even before taking om ce- Defendants

   form ulated a plan to use Iethalforce to killcivilians in an e#ortto quellopposi
                                                                                  tion to their

   politicalagenda. Based on the alignm entofDefendants'plan with the events of

   Septem ber20,2003 and October12 and 13,2003- togetherwith otherevidence

   detailed above- a reasonablejury could conclude the Bolivian militarycommitted
   etrajudicialkillingsunderthe TVPA and thatDefendants,having a superiorrelationship
   to the soldiers who com m itted those killings,should be held liable underthe doctrine of

   com mand responsibility. Finding Defendants Iiable on the presentrecord would

   therefore notam ountto the form ofstrictliability turned away by the Eleventh Circuitin

   M amani111.39


          39contraryto Defendants'suggestion, see DE 384 at26,these cases are notIike Belhas v.
   Ya'alon,515 F.3d 1279(D.C.Cir.2008).ln Belhas,the D.C.Circuitheldthatacomplaintbroughtagainst
   aretired generalofthe IsraeliDefense Forceswasproperlydismissedforfailing tomeetthejurisdictional
   prerequisitescontained inthe FSIA. ln reaching thatconclusion,Belhas held thatthe FSIA does not
                                                   53
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                      2. Conspiracy
          Defendants can be held indirectly liable by m eans ofconspiracy ifPlaintiffs

  establish the following three elem ents:

          (1)two ormore personsagreed to comm i
                                              tawrongfulact,(2)(Defendants)joined
          the conspiracy knowing ofatIeastone ofthe goals ofthe conspiracy and
          intending to help accomplish it,and (3)one ormore ofthe violationswas
          com m itted by som eone who was a m em berofthe conspiracy and acted in
          fudherance ofthe conspiracy.

   Cabello v.Fernéndez-Larios,402 F.3d 1148,1159 (11th Cir.2005)(percuriam)(citing
   Halberstam v.W elch,705 F.2d 472,481,487 (D.C.Cir.1983)).The record evidence
   compels the conclusionthata reasonable jurycould find DefendantsindirectlyIiable
   undera theory ofconspiracy.A genuine dispute ofm aterialfactexists as to w hether

   Defendants entered into an agreem entto killcivilians in orderto fudhertheirpolitical

   recognizeajuscogensexceptiontoa foreignstate'simmunityfrom thejurisdictionofAmericancourts.
   Id.at1286-88.Ajuscogensnorm 'isa norm acceptedand recogni zed bythe internationalcommunityof
   states as a whole asa norm from which no derogation is perm i
                                                               tted and whi
                                                                          ch can be modi
                                                                                       fied only by a
   subsequentnorm ofgeneralinternationalIaw havingthesamecharacter.''Id.at1286 (quoting Siderman
   de Blakev.RenublicofArcentina,965F.3d699,714(9th Cir.1992)).
          In a concurring opinion,Judge W illiams explained that,asi
                                                                   de from the question ofwhetherthe
   FSIA carvesoutanexceptionforviolationsofjuscogensnorms,the allegationscontained in plainti   ffs'
   complaintdidnotamountto suchaviolati on.See id.at1293(W illiams,:J.,concurring).'W hile$,plaintiffs
   characteri
            zethis conductasviolating both internationaland IsraeliIaw , Judge W illiam s noted, they point
   to no case where similarhigh-l
                                eveldecisions on m ilitarytacti
                                                              csand strategyduring a modern mili  tary
   operationhave beenheldtoconstitutetodureorextrajudicialkilling underinternationalIaw orunderthe
   TortureVictim Protecti
                        onAct.' Id.(citationsomi
                                               tted).lnMamani111,theEleventhCircui   tquoted partof
   thissentencefrom JudgeW illiams'concurrence.See654 F.3d at1293(ulplainti   ffs)pointto nocase
   where sim ilarhigh-leveldecisionson militarytactics and strategy during a modern mili
                                                                                       tary operation have
   beenheld toconstitute...extrajudi
                                   cialkillingunderinternationallawa'(alterations inoriginal)(quoting
   Belhas,515 F.3dat1155(W illiams,J.,concurringll).
             Defendants invoke Judge W illiam s'concurrence in an attemptto defeatcomm and responsibility
   Iiability. See DE 384 at22. ButBelhasand MamaniIlIdeal      tnotwith Iiability butwith a predicate
   question,namely,whetherornottheconductallegedamountedtoanextrajudicialkilling under
   internationall
                aw.Here,bycontrast,the Courthasconcludedthatareasonablejurycouldfind that
   Plainti
         ffs'decedentswerevictimsofextrajudici
                                             alkillings.Extrajudicialkillingsareclearviolationsofboth
   theTVPA andjuscogensnorms.SeeTVPA j 3(a);RestatementfThird)ofForeicnRelationsLaw ofthe
   UnitedStatesj702 cmt.f(1987)('II)tisavi olationofinternational1aw forastate tokillan individual
   otherthan as Iawfulpunishmentpursuantto conviction in accordance with due processofIaw,oras
   necessaryunderexigentcircumstances,...orto preventseriouscrime.'),   'seealso,e.c.,Yousufv.
   Samantar,699F.3d763,778(4thCir.2012)('thiscase involvesactsthatviol     atedjuscogensnorms,
   including. .extrajudici
                         alkillings'l;Aleiandrev.RenublicofCuba,996 F.Supp.1239,1252 (S.D.Fla.
   1997)(''The banonextrajudi  cialkillingthusrisestothe I
                                                         evelofjuscogens,anorm ofinternationalIaw so
   fundamentalthatitisbindingonal1membersoftheworldcommunity.n).
                                                     54
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   agenda.See Plainti#s'Ex.H (CanelasDecl.11% 4-7).This evidence satisfiesthe first
   two elementsofconspiracy Iiabilityforsummaryjudgmentpurposes.And thethird
   elem entis m etbased on the steps Defendants took to im plem enttheirplan, including

   theirdeploymentofthe m ilitary on Septem ber20,2003 and October12 and 13,2003.

   A reasonablejurycould conclude thatdecedents'extrajudicialkillingswere a
   foreseeable resultofDefendants'acts. See Cabello,402 F.3d at1159-60 (TVPA
   defendantproperly held Iiable fortodure and extrajudicialkilling thatwas aforeseeable
   resultofconspirators'agreementl;Halberstam ,705 F.2d at481 ('Asto the extentof
   Iiability,once the conspiracy has beenformed,alIits members are Iiable forinjuries
   caused by acts pursuantto orin fudherance ofthe conspiracy.A conspiratorneed not

   padicipate actively in orbenefitfrom the w rongfulaction in orderto be found Iiable. He

   need noteven have planned orknown aboutthe injurious action,...so Iong asthe
   purpose ofthe tortiousactionwasto advance the overallobjectofthe conspiracy.D).
                    3. Agency

         Agency Iaw is recognized as an available theory ofindirectIiability in TVPA

   cases. See Doe,782 F.3d at607*
                                ,Chowdhurv v.W orldtelBanaladesh Holdinc.Ltd.,

   746 F.3d42,52 (2d Cir.2015).W hetherexpress orimplied,com mon law agency
   requires (1)consentto the agencybyboth the principaland the agent,and (2)the
   controlofthe agentby the principal. Com m odi
                                               tv Futures Tradinc Com m 'n v.G ibraltar

   MonetarvCorD.,575 F.3d 1180,1189 (11th Cir.2009)(percuriam).
         A reasonablejurycould find that,based on Defendants'positionsatthe top of
   the Bolivian m ilitary hierarchy,Defendants'Iongstanding plan to killcivilians,and the

   orders given by Bolivian m ilitary officers to killcivilians,decedents'deaths atthe hands


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   ofthe Bolivian m ilitary were com m itted by soldiers who had consented to an agency

   relationship with Defendants. Defendants respond thatconsentw as Iacking because

   the identity ofthe perpetrators ofdecedents'deaths rem ains a m ystery. Butas the

   Courtexplained above,a reasonablejurycould conclude thatdecedents were
   deliberately killed by m em bers ofthe Bolivian m ilitary who were im plem enting

   Defendants'plan.
           The Courtfudherholds thatthe record contains sufficientevidence ofcontrol.

   This conclusion follows a foliorifrom the Court's elective controlanalysis underthe

   command responsibilitydoctrine. Because a reasonablejury could find thatDefendants
   possessed effecti
                   ve controlunderthatdoctrine,a sim ilarfinding ofsubstantialcontrol
   forpurposes ofcom m on-Iaw agency could also be m ade.40 Defendants concede as

   m uch in theirbriefing. See DE 342-1 at30'
                                            ,DE 384 at22.

                          State-Law Claim s

           Florida resolves conflict-of-laws questions according to the 'dm ostsignificant

   relationship''testoutlined in the Restatem ent(Second)ofConflictofLaws. See M ichel

   v.NYP Holdinns,lnc.,816 F.3d 686,694 (11th Cir.2016).
                                                       ,MamaniIl,2009W L
   10664387,at*23. In determ ining the m ostsignificantrelationship,courts are to

   consider''(a)the place where the injuryoccurred,(b)the place where the conduct
   causing the injury occurred,(c)the dom icil,residence,nationality,place ofincorporation
           40Plaintiffsalso assed thatan agency relationshipcould also exi
                                                                         stthrough ratification. See GDC
   Accui
       si
       - tionsLLC v.Gov'tofBelize,849F.3d 1299,1308 (11thCir.2017)('i
                                                                    W hile onlyinteractionsthat
   are within the scope ofan agency relationshipaffectthe principal's Iegalpositi
                                                                                on,the principalm ay also
   ratifyhisagent'sunauthorizedactions,thusbecoming boundbytheirIegalconsequences.''(brackets,
   citation,and internalquotationmarksomittedl).TheonlyevidencePlaintiffsciteto suppod rati
                                                                                          fication i
                                                                                                   s
   testimony ofGeneralRobedo Claros Flores atthe TrialofResponsibilities explaining thatDefendant
   Lozadatookresponsibilityforthe eventsofSeptemberandOctober2003.See DE 342 at31(citing
   CSMF:1299).Forthereasonsexplained ina separatelyfiled order,the CourtconcludesthatGeneral
   Flores'TrialofResponsibilitiestestimony is inadm issible. Plainti
                                                                   ffs'ratification argumentm ust
   accordinglybe rejected.
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   and place ofbusinessofthe parties,and (d)the placewhere the relationship,ifany,
   between the padies is centered.' Bishon v.Florida Snecialtv PaintCo.,389 So. 2d 999,

   1001(FIa.1980)(quoting Restatement(Seconj)ofConflictofLaws j 145(2)(1971)).
   AIlfourofthese factors Iean heavily toward applying Bolivian Iaw , as the parties

   concede. The decedents were Bolivian citizens killed in Bolivia,allegedly by the

   Bolivian Armed Forces'
                        ,and Plaintiffs are allBolivian citizens,asw ere Defendants atthe

   tim e ofthe events atissue in this case. The Coud therefore holds thatBoli
                                                                            vian law

   provides the substantive Iaw forPlainti
                                         ls'wrongfuldeath claim s.

         Defendants assed thata num berofIegalbarriers foreclose Plaintiffs'w rongful

   death claim s. First,Defendants say thatPlainti#s'claim s are preem pted by the TVPA.

   Second,Defendants assertthatBolivian Iaw does notrecognize indirectIiability in this

   context. And third,Defendants argue thateven ifPlaintils'wrongfuldeath claim s were

   otherw ise viable,they are precluded due to the crim inalcharges pending in Bolivia at

   the tim e ofthe inception ofthis action.

                    1. Preem ption

                      a.      Field Preem ption

         The Constitution's Suprem acy Clause provides thatfederalIaw ''shallbe the

   supreme Law ofthe Land;and the Judges in every State shallbe bound thereby,any

   Thing in the Constitution orLaws ofany State to the Contrary notwithstanding.'' U.S.

   Const.artVI,cI.2. This fundamentalprinciple perm its Congress to preem ptstate Iaw.

   See Crosbv v.Nat'lForeicn Trade Council,530 U.S.363,372 (2000). State action
   mustgivewayto federallaw inatIeastthree circumstances:(1)$'byexpress Ianguage
   in a congressionalenactment,''(2)''by implicationfrom the depth and breadth ofa


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   congressionalschemethatoccupiesthe Iegislativefield,'or(3)''by implication because
   ofa conflictwith a congressionalenactm ent.'' Graham v.R.J Revnolds Tobacco Co.,
                                                                .




   857 F.3d 1169,1186 (11th Cir.2017)(en banc)(quoting Lorillard Tobacco Co.v.Reillv,
   533 U.S.525,541 (2001)),cert.denied,583 U.S.         ,2018W L 311345 (Jan.8,2018).
   Itis the second form ofpreem ption- com monly known as field preem ption- thatis at

   issue in these cases.

         Field preemption reflects a congressionaljudgment''toforeclose any state
   regulation in the area,irrespective ofwhetherstate Iaw is consistentorinconsistentwith

   federalstandards.''Oneok.Inc.v.Leariet,Inc.,135 S.Ct.1591,1595 (2015)(internal
   quotation marks omitted). Itprecludes States ''
                                                 from regulating conductin a field that
   Congress,acting within its properauthority,has determ ined m ustbe regulated by its

   exclusive governance.' Arizona v.United States,567 U.S.387,399 (2012).''The intent
   to displace state Iaw altogethercan be inferred from a fram ework ofregulation .so

   pervasive ...thatCongress Ieftno room forthe States to supplem entit'orwhere there

   is a 'federalinterest...so dom inantthatthe federalsystem w illbe assumed to

   preclude enforcementofstate Iawsonthe same subject.'''Id.(ellipses in original)
   (quoting Ricev.Santa Fe ElevatorCorp.,331 U.S.218,230 (1947)). In conducting
   preem ption anal
                  ysis,courts are to ''assum e that'the historic police powers ofthe States'

   are notsuperseded 'unlessthatwasthe clearand manifestpurpose ofCongress.'''!j=
   at400 (quoting Rice,331U.S at230).And because the Statesare 'independent
   sovereigns in ourfederalsystem ,''couds have Iong presumed thatucongress does not

   cavalierly pre-em ptstate-law causes ofaction.' Medtronic.lnc.v.Lohr,518 U.S.470,

   485 (1996).


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          Defendants contend that,in passing the TVPA , Congress soughtto occupy the

   field ofcivilremediesforforeign state-sponsored todure and extrajudicialkillings. Of
   course,'Congress appeared wellaware ofthe Iim ited nature ofthe cause ofaction it

   established inthe (W PAI.''Mohamad,566 U.S.at460.Andwhile Defendants place
   greatem phasis on the restraintexercised by Congress when itenacted the W PA,they

   pointto no evidence ofa clearand m anifestpurpose to displace the traditional

   common-law doctrine perm itting State courtsto exercisejurisdictionovertransitory
   torts,including torts com m itted abroad. See Dennick v.Railroad Co.,103 U.S.11,18

   (1881)('W herever,byeitherthe common Iaw orthe statute Iaw ofa State,a rightof
   action has become fixed and a IegalIiability incurred,thatIiability m ay be enforced and

   the rightofaction pursued in any coudwhich hasjurisdiction ofsuch matters and can
   obtainjurisdiction ofthe parties.nl,
                                      'Cabello,402 F.3d at1154 ('
                                                                dlplriortothe TVPA,this
   Courtcould have exercised extraterritorialjurisdiction to reachwrongfuldeathactions
   involving defendantsand Iocationsoutside theforum jurisdiction.').The Courttherefore
   concludes thatPlaintiffs'wrongfuldeath claim s are notpreem pted by the TVPA.

                     b.       Foreign Affairs Doctrine

         The foreign affairs doctrine is based on the prem ise that'atsom e pointan

   exercise ofstate powerthattouches on foreign relations m ustyield to the National

   Government's policy,given the 'concern foruniform ity in this country's dealings w i
                                                                                      th

   foreign nations'thatanim ated the Constitution's allocation ofthe foreign relations power

   to the NationalGovernm entin the firstplace.''Am erican Ins.Ass'n v.Garamendi,539

   U.S.396,413 (2003)(quoting Banco Nacionalde Cubav.Sabbatino,376 U.S.398,
   427,n.25 (1964)).W here a State actsin anarea ofits uttraditionalcompetence,'''couds


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   mustconsider''the strength ofthe state interest,judged bystandards oftraditional
   practice,when deciding how serious a conflictm ustbe show n before declaring the state

   Iaw preempted.' Id.at420 (quoting Zschernic v.Miller,389 U.S.429,459 (1968)
   (Harlan,J.,concurring inthe resultl).
          As an initialm atter,application ofthe foreign a#airs doctrine is entirely inaptin

   these cases,asthe Coud is applying Bolivian Iaw,notFlorida Iaw ,to Plaintils'w rongful

   death claims. See Doe v.Exxon Mnbilq Gnm ,,654 F.3d 11,70-71(D.C.Cir.2011)
   (uBecause lndonesian law applies underDistrictofColumbia choice oflaw rules,the
   coud need notaddress Exxon's federalpreem ption argum entregarding Districtof

   Columbia and Delaware Iaw.''),vacated onothercrounds,527 F.App'x7 (D.C.Cir
   2013).41 There is sim ply no state law to be preem pted here        .



          Even ifa conflictcould exist--even ifFlorida's interestin entertaining a transitory

   tortunderBolivian Iaw could somehow im plicate foreign policy concerns- the conflict

   with U.S.foreign policy interests would notbe strong enough forPlaintiffs'wrongful

   death claim s to be preem pted. Early in this Iitigation,the Coud invited the Departm ents

   ofJustice and State to file briefs expressing the views ofthe United States on 'the

   interpretation and application ofthe Alien Tod Statute and the Torture Victim Protection

   Act,and the possible foreign policy repercussions'
                                                    'ofthese cases. DE 60. On October


          41Although the D .C.Ci
                               rcuitIatervacated itsjudgmentinDoev.ExxonMobileCoro.!654 F.3d 11
   (D.C.Cir.2011)tduetointerveningchangesingoverning Iaw,i   texplicitlyreinstated the por
                                                                                         ,
                                                                                           tlonofitsprior
   opinionaddresslngforeignaffairs preemption,see Doev.ExxonMobileCorn.,527F.Appx7,7(D.C.
   Cir.2013)(Ordering,''inaccordance withthiscourt'sopinionissued July8,2011,thatthejudgmentofthe
   DistrictCourt...bereversed astothe di smissalofappellants'non-federaltortclaimsa'' ).Indeed,on
   remandthedistrictcoud followedtheD.C.Circuit's holdingand rejected Exxon'  sargumentthatthe
   Indonesian Iaw claims againstitmustbe dismissed on the basis ofthe foreign affairs preempti
                                                                                             on
   doctrine.See Doev.ExxonMobilCorn.,69 F.Supp.3d 75,93 (D.D.C.2014)(Holdingthatthe 'forei
                                                                                         gn
   affairs preem ption doctrine does notapply in thiscontextbecause the Courtis notconsidering a U.S.
   state Iaw,m aking irrelevantthe doctrine's concernsaboutm aintaining the properconstitutionalbal
                                                                                                  ance
   betweenstateandfederalauthority.n).
                                                    60
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   21,2008,the United States filed a Notice inform ing the Courtthatittook ''no position on

   those issues atthis tim e,''butthatitwould S'continue to m onitorthis litigation.'' DE 107

   15 3-4.Attached to the Noticewasa Ietterfrom the Bolivian MinistryofForeignAffairs
   and Culture notifying the Secretary ofState that''the factthata Courtofthe Uni
                                                                                ted

   StatesofAmerica is adjudicating a complaintagainstIDefendantLozada and Defendant
   Berzain)doesnotcause anydisruptionorchange in the diplomatic relations between
   Bolivia and the United States ofAmericaa'' DE 107-1 at4.The United States and the

   Bolivian governmenthave not,to date,indicated any change in theirrespective

   positions on this litigation.G iven those positions,even assum ing the foreign affairs

   doctrine applied here,the Courtconcludes thatPlaintiffs'wrongfuldeath suits are not
   preem pted.42

                       2. lndirectLiabili
                                        ty UnderBolivian Law

           Defendants argue thatPlaintiffs'wrongfuldeath claims failbecause Bolivian Iaw

   does notrecognize a civilclaim forthose injured by criminalconductbased on indirect
   liability. Specifically,Defendants assertthat,w hile the Bolivian PenalCode im poses

   criminalIiability upon '
                          dmediate perpetrators'' ''personls)who usel)anotheras an
   instrument,i.e.,a person who uses an agentto com m itan aspectofthe crim e''-

   m ediate perpetratorIiability is notavailable forBolivian civilIiability. DE 342-1 at33.

           This argum entwarrants Iittle discussion. Itis based solely on the factthatone

   adicle ofthe Bolivian PenalCode uses the term ''perpetrator'butdoes notalso

           42The DepartmentofState'sAugust14, 2017 deni    alofDefendants'Touhv requestto depose
   David Greenlee,the formerU.S.Ambassadorto Boli    via,see Defendants'Ex.19,does notal     terthis
   conclusion. W hile one ofthe reasons the DepadmentofState gave fordenying Defendants'requestwas
   thatpermitting formerAm bassadorGreenlee to testify would 'entangle the United States in the
   controversi
             almatters addressed in the case,with substantialdetrim entalim pacton U.S.foreign policy
   interests,''ij..
                  oat1-2,theCourtdoesnotview theDepadmentofState'sTouhvdenialassignalinga
   change in the posi
                    tion taken by the United Statesearly in this Ii
                                                                  tigation.
                                                      61
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   specifically mention d'mediate perpetrators'
                                              'aswell.See Defendants'Ex.75 (BoI.Penal
   Code art.273)(''A personwho,with the intentofcausing bodily damage ordamageto
   health,causes the death ofa person unintended by the perpetratorbutwhich could

   have been foreseen shallbe punished by im prisonm entoffrom THREE to EIG HT

   years.n). ButDefendantsconcedethat,underBolivian law,the criminalcode informs
   civilIiability. And Article 14 ofthe Bolivian Code ofCrim inalProcedure establishes that

   a civilaction arises''from the commission ofele;y crime.''Plainti#s'Ex.AAA (Bol.Code
   Crim .P.ad.14 (emphasisaddedll;see also Defendants'Ex.75 (Bol.PenalCode art.
   87)('Anyperson criminallyIiable is also civillyIiable and isobligated to pay reparations
   forthe materialand non-materialdamagescaused by the crime.'').Moreover,the
   Bolivian Code ofCrim inalProcedure specifies thata cikilaction ''
                                                                   forthe reparations or

   compensationfordamagesand injuriescaused by (a)crime,maybe initiated bythe
   injured pady,againstthe perpetratorand theparticipants ofthe crime.''Plaintiffs'Ex.
   AAA (Bol.Code Crim .P.art.36 (emphasisaddedl). Based onthis authority,the Coud
   concludes thatDefendants have failed to show thatBolivian Iaw does notrecognize a

   civilclaim based on indirectIiabili
                                     ty.

                    3. Preclusion Based on Pendency ofCrim inalCharges

         Defendants also assed thatPlainti
                                         ffs'wrongfuldeath claim s are precluded

   because when Defendants broughtthese claim s in 2007,a crim inalcase- the Trialof

   Responsibilities- was pending againstDefendants in Bolivia.43 In suppod, Defendants

   cite toArticle 37 ofBoli
                          via'sCode ofCriminalProcedure,whichprovidesthat$'IaJcivil
   action can be pursued in the crim inalproceedings underspecialrules orm ay be filed


         43The Boli
                  viancriminalproceedings againstDefendants were ul
                                                                  timately suspended,butnotuntil
   May 2009.
                                               62
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   withthe civilcouds,butcannotbe pursued simultaneously in both jurisdictions.'
   Defendants'Ex.76 (BoI.Code Crim.P.art.37).Defendantsfudhernote thatBolivian
   Iaw prohibits the resolution ofcivilcases based on crim inalconduct'while the pending

   crim inalproceedings have notbeen resolved,''exceptin cedain enum erated

   circum stances,including when ''the crim inalproceedings have been ordered suspended

   due to default.'' Id.art.38.The Coud does notfind that,based on these principles of

   Bolivian Iaw,Plaintiffs'w rongfuldeath claim s are barred because ofthe pendency of

   Boli
      vian crim inalcharges againstDefendants when Plaintiffs broughtthe instant

   wrongfuldeath claims in 2007.

          First,Adicle 37 ofthe Bolivian Code ofCrim inalProcedure appears to solely

   prohibitIitigants from pursuing civilclaim s sim ultaneously uin the crim inalproceeding

   underspecialrules''and in the civilcourts. Id.art.37. W hile this rule would seem to

   have prohibited Plaintiffs from ,forexam ple,sim ultaneously pursuing theircivilclaim s

   ''underspecialrules''as partofthe TrialofResponsibilities and in a separate civilcase,

   thatis irrelevantbecause there is no indication thatPlaintiffs have pursued theircivil

   claim s anywhere butin this Court. Adicle 38 ofthe Bolivian Code ofCrim inalProcedure

   does notsupportDefendants'argumenteither. W hile itis som ew hatam biguous,the

   rule seem s to only preclude a courtfrom finally disposing ofa civilcase priorto the

   resolution ofthe pending crim inalproceedings itdoes notseem to barthe assedion of

   a civilclaim priorto the resolution ofthe crim inalproceeding,so Iong as the crim inal

   proceeding isresolved first.See id.art.38)(''W hen the actionforreparations is initiated
   inthe civilcouds,asentence cannotbe handed down in thisjurisdictionwhile the



                                               63
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   pending criminalproceedings have notbeen resolved ....). In sum ,Defendants
   have failed to show thatPlaintiffs'wrongfuldeath claims are barred because ofthe fact

   that,when they were initially asserted in 2007,the crim inalproceedings against

   Defendants were stillpending.

                 D.     IndividualDeficiencies

          Defendants take the position thatvarious individualdeficiencies preclude the

   claimsofPlainti
                 ffsSonia EspejoVillalobos and Gonzalo MamaniAguilar.
                        Sonia Espejo Villalobos
          Defendantscontend thatPlainti
                                      l Sonia Espejo Villalobos is nota properplaintiff
   with respectto eitherherTVPA orw rongfuldeath claim s. In orderto obtain reliefforan

   extrajudicialkilling pursuantto the -I-VPA,a plaintiffmustbe:(1)a Iegalrepresentative
   orany personwho maybe a claimantin an action forwrongfuldeath (2)ofa victim of
   an extrajudicialkilling (3)thatwascommitted byan individualacting underactualor
   apparentauthority,orcolorofIaw,ofany foreign nation. Baloco ex rel.TaDia v.

   Drummond Co.,640 F.3d 1338,1346 (11th Cir.2011). State Iaw governsthe
   determ ination ofwhethera plaintiffmay be a claim antin an action forwrongfuldeath.

   Id.at1349.

          Defendants argue thatMs.Espejo is nota properrepresentative ofMr.
   Gandarilla because they were notform all
                                          y m arried atthe tim e ofM r.Gandarilla's death,

   buthad a com m on-law union. UnderFlorida law ,the only ground upon w hich M s.

   Espejo could serve as the representative ofMr.Gandarilla is as his spouse. See Fla.
   Stat.j 733.304. W hile common-law marriagesare notgenerally recognized in Florida,
           44lfanything, thi
                           srulemayhave beengroundstostaytheadjudicationofPlaintiffs'wrongful
   death claims while the Bolivian criminalproceedings againstDefendantswere pending,butasthe
   criminalproceedings have been suspended,this is a m ootpoint.
                                                 64
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   see Fla.Stat.j 741.211,thatIimitation does notapplyto marriagesentered into outside
   ofFlorida,see Johnson v.Lincoln Snuare Prons.,Inc.,571So.2d 541,542-43 (FIa.2d
   DCA 1990). Moreover,ifa foreign state acknowledges a common-law marriage as a
   m arriage underits Iaw ,then itm ay be recognized underFlorida Iaw as well. See Cohen

   v.Shushan,212 So.3d 1113,1118-19 (Fla.2d DCA 2017)'
                                                     ,AmericanAirlines.Inc.v.
   Meiia,766 So.2d 305,306 (FIa.4th DCA 2000).
         Atthe tim e ofDecedentGandarilla's death in 2003,the Bolivian Fam ily Code

   recognized that''free conjugalorde facto unionsthatare stable and singularproduce
   effects sim ilarto m arriage,as m uch in the personalrelationships as in the hereditary

   relationships ofcohabiting padners.'' Pl
                                          ainti#s'Ex.OOO (Veréstegiu Rpt.1133 (quoting
   Law 996 ad.159)).The Bolivian Constitution of2009 likewise provides:'dFree orde
   facto unions between a wom an and a m an which m eetthe requirem ents ofstability and

   singularity and forwhich there is no legalim pedimentshallproduce the sam e Iegal

   effectsascivilmarriage ....''Plaintiffs'Ex.>      (BoI.Const.art63). Plaintiffspointto
   decisions ofBolivia's highestcourt,the PlurinationalConstitutionalTribunal,thatappear

   to retroactively apply the 2009 Bolivian Constitution's definition ofm arriage. See DE

   375 at42 & nn.27-28.

          The Coud need notdefinitively resolve the statusofMs.Espejo'scommon-law
   m arriage to DecedentGandarilla in orderto find thatshe is a properplaintil in these

   cases. The Bolivian Code ofCrim inalProcedure considers a cohabitating padneras
   both an heirand a victim in herown rightwho may bring a civilaction forthe death ofa

   decedent.See Plaintiffs'Ex.OOO (Veréstegiu Rpt.II!I27,30-31(citing Bol.Code Crim .
   Proc.ads.76,92)),
                   .id.atIN 33,37-40 (discussing the inheritance rightsofcohabitating


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   partners). Eleventh Circuitprecedentinstructsthat,''where state Iaw would provide no
   remedy (to aTVPA plaintif!,a coud may apply the foreign Iaw thatwould recognize the
   plainti
         f sclaim .''Baloco,640 F.3d at1349.Thus,even assuming thatMs.Espejo's
   com m on-law marriage to DecedentGandarilla would notbe recognized underFlorida

   Iaw ,because she would be a properrepresentative forDecedentGandarilla in a civil

   action broughtunderBolivian law,she m ay serve as a TVPA plaintif here. Itfollows

   from this conclusion that,due to the Court's application to Bolivian Iaw to Plaintiffs'

   wrongfuldeath claims,Ms.Espejo isa properplaintiffforthose claims aswell.
                     2. Exhaustion

          Section2(a)ofthe TVPA providesthat''Ia)courtshalldeclineto heara FVPA)
   claim ...ifthe claim anthas notexhausted adequate and available rem edies in the

   place in w hich the conductgiving rise to the claim occurred.' The statute's exhaustion

   requirementis an affirm ative defense thatDefendant: beara ''substantial''burden to

   prove.Jeanv.Dorelien,431F.3d 776,781(11th Cir.2005). Defendantsassed that
   Ms.Espejo and PlaintiffGonzalo MamaniAguilarhave notexhausted theirBolivian
   rem edies because they did notpersonally apply forbenefits underBolivian Law No.
   3955 45

          As relevanthere,Bolivian Law No.3955 awarded a Ium p sum benefit'
                                                                          dto the

   heirswho are relatives upto the firstdegree ofconsanguinity(children,spouse and
   parents)ofthose who died as a consequence ofthe events ofFebruary,Septemberand
   Octoberof2003.''Plaintiffs'Ex.BBB (Law No.3955 ad.2.1.).The Iaw fudherIooked to
   Bolivian inheritance Iaw to identify a decedent's heirs. See id.art.7.a. Pursuantto


          45oefendants ini
                         ti
                          ally challenged Plainti
                                                ffHerm ôgenes Bernabé Calli
                                                                          zaya's exhaustion of
   remedies,seesMF 119'
                      ,DE 342at40,butIaterwi
                                           thdrew thatobjection,see ReplySMF119.
                                             66
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   Suprem e Decree 29884,prom ulgated tw o m onths afterLaw No.3955's enactm ent,if

   two orm ore beneficiaries were eligible,the Ium p sum would be distributed

   propodionally amongstthem. Plaintiffs'Ex.CCC (Supreme Decree No.29884 ad.2.1).
         Plaintiffsappearto concedethatboth Ms.Espejo and Mr.MamaniAguilardid not
   personallyapplyforbenefitsunderLaw No.3955.See CSMF 115 ('Because ofthe
   Iimitedtime in which (Ms.Espejo)had to apply forbenefitsand thetime itwould have
   taken to obtain officialpaperwork showing hercom m on-law m arriage status,she

   instead chose to apply forthe benefits forherfam ily underherm inorson Aldair's nam e

   because she had his birthcertificate.''l;id.1110 (''M r.MamaniAguilar's motherhandled
   applying forthe benefits forthe entirefamilyand he did notask heraboutthe details.D).
   Plaintiffsinsist,however,thatMs.Espejo and Mr.MamaniAguilarnonetheless received
   benefitsthrough otherfam il
                             y m em bers who were beneficiaries underLaw No.3955.

         To be sure,this Coud held in M amanilthatPlainti
                                                        ffs ''are required to seek

   com pensation in Bolivia underLaw No.3955 before they can assed theirTVPA claim s.''

   636 F.Supp.2d at1326. Butnothing in M amanilsuggests thatPlaintiffs could not

   satisfythe TVPA exhaustion requirem entby having othereligible fam ily m em bers seek

   reliefunderLaw No.3955. And thatis w hathas happened here.There are no m ore

   remediesavailableforMs.Espejo and Mr.MamaniAguilarto exhaust.Afterall,
   Supreme Decree 29884 providesthat''lolnce the benefitofthe Iump sum IunderLaw
   No.3955)is awarded,i
                      tshallnotbe subjectto any subsequentreconsideration or
   increase.''Plaintiffs'Ex.CCC (Supreme Decree No.29884 ad.2.11 .The available
   Ium p sum s have been awarded to survivors ofaIldecedents in these cases. Thus,




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   Defendants have notm ettheirsubstantialburden ofproving thatPlainti
                                                                     ffs have failed to

   exhausttheir'adequate and available remedies''in Bolivia. TVPA j 2(a).
      VII.     CONCLUSION
         Having addressed allissues raised by Defendants in theirJointM otion,itis

   thereupon ORDERED and ADJUDGED thatDefendants'JointMotion forSum m ary

   JudgmentIDE 342 in Case No.07-22459;DE 321in Case No.08-21063)is DENIED.
         DONE AND O RDERED in Cham bers atFod Lauderdale,Broward County,

   Florida,this 14th day ofFebruary,2018.




                                                    JA Es 1.GO;IN
                                                                   &
                                                    uni    states D lstrlctJudg

   Copies provided to counselofrecord via CM/ECF




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